    Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                 Desc Main
                                     Document    Page 1 of 107


      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY                                                     Order Filed on June 11, 2025
                                                                                 by Clerk
      In re:                                                                     U.S. Bankruptcy Court
                                                                                 District of New Jersey
      NEW RITE AID, LLC, et al.,                              Chapter 11

                                            Debtors.1         Case No. 25-14861 (MBK) (Jointly Administered)


            FINAL ORDER (I) ESTABLISHING PROCEDURES FOR THE SALE OF CERTAIN
           LEASES AND FEE OWNED PROPERTIES, AND (II) GRANTING RELATED RELIEF

               The relief set forth on the following pages, numbered three (3) through and including

     twenty-three (23), is ORDERED.




DATED: June 11, 2025
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                                 Document    Page 2 of 107


 Caption in Compliance with D.N.J. LBR 9004-1(b)
 PAUL, WEISS, RIFKIND, WHARTON
 & GARRISON LLP
 Andrew N. Rosenberg (admitted pro hac vice)
 Alice Belisle Eaton (admitted pro hac vice)
 Christopher Hopkins (admitted pro hac vice)
 Sean A. Mitchell (admitted pro hac vice)
 1285 Avenue of the Americas
 New York, New York 10019
 Telephone: (212) 373-3000
 Facsimile: (212) 757-3990
 arosenberg@paulweiss.com
 aeaton@paulweiss.com
 chopkins@paulweiss.com
 smitchell@paulweiss.com

 -and-

 COLE SCHOTZ P.C.
 Michael D. Sirota, Esq.
 Warren A. Usatine, Esq.
 Felice R. Yudkin, Esq.
 Seth Van Aalten, Esq. (admitted pro hac vice)
 Court Plaza North, 25 Main Street
 Hackensack, New Jersey 07601
 Telephone: (201) 489-3000
 msirota@coleschotz.com
 wusatine@coleschotz.com
 fyudkin@coleschotz.com
 svanaalten@coleschotz.com

 Proposed Co-Counsel to the Debtors and
 Debtors in Possession
Case 25-14861-MBK            Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                           Desc Main
                                    Document    Page 3 of 107
 (Page | 3)
 Debtors:                  NEW RITE AID, LLC, et al.
 Case No.                  25-14861 (MBK)
 Caption of Order:         Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                           Fee Owned Properties, and (II) Granting Related Relief


         Upon the motion (the “Motion”),1 of the above-captioned debtors and debtors in possession

 (collectively, the “Debtors”), for entry of an order (this “Final Order”): (a) establishing procedures

 authorizing, but not directing, the Debtors to (i) sell or transfer certain unexpired leases of non-

 residential real property (each, a “Lease”), including with any related ancillary agreement thereto

 or through the sale of designation rights related thereto, by public auction (each, an “Auction”),

 pursuant to the procedures attached hereto as Schedule 1 (the “Auction Procedures”), and (ii) sell

 or transfer certain owned real estate (each, a “Fee Owned Property”) through an Auction pursuant

 to the Auction Procedures; (b) approving the form and manner of notices with respect to the

 Auction of Leases, substantially in the form attached hereto as Schedule 2-A, and Auction of Fee

 Owned Property, substantially in the form attached hereto as Schedule 2-B; (c) approving the form

 and manner of notice with respect to hearings for approval of the sale of a Leases

 (a “Sale Hearing”), or, in the absence of a hearing (including with respect to a Fee Owned

 Property), the date on which an order approving a sale will be entered substantially in the form

 attached hereto as Schedule 3-A, and sale of Fee Owned Property, substantially in the form

 attached hereto as Schedule 3-B; (d) approving procedures, attached hereto as Schedule 4, for the

 assumption and assignment of a Lease (the “Assumption and Assignment Notice”); and

 (e) granting related relief, all as more fully set forth in the Motion; and upon the First Day

 Declaration; and the Court having jurisdiction to consider the Motion and the relief requested

 therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to the


 1
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Debtors’
     Motion for Entry of Interim and Final Orders (I) Establishing Procedures for the Sale of Certain Leases and Fee
     Owned Properties, and (II) Granting Related Relief [Docket No. 22] or the Auction Procedures, as applicable.
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                   Desc Main
                                 Document    Page 4 of 107
 (Page | 4)
 Debtors:               NEW RITE AID, LLC, et al.
 Case No.               25-14861 (MBK)
 Caption of Order:      Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                        Fee Owned Properties, and (II) Granting Related Relief


 Bankruptcy Court Under Title 11 of the United States District Court for the District of New Jersey,

 entered July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this Court having

 found that venue of this proceeding and the Motion in this district is proper pursuant to

 28 U.S.C. §§ 1408 and 1409; and this Court having found that the Debtors’ notice of the Motion

 was appropriate under the circumstances and no other notice need be provided; and this Court

 having reviewed the Motion, the First Day Declaration, and having heard the statements in support

 of the relief requested therein at a hearing before this Court (the “Hearing”); and this Court having

 determined that the legal and factual bases set forth in the Motion establish just cause for the relief

 granted herein; and upon all of the proceedings had before the Court and after due deliberation and

 sufficient cause appearing therefor IT IS HEREBY ORDERED THAT:

        1.      The Motion is GRANTED, on a final basis, as set forth herein.

        2.      All objections to the relief requested in the Motion that have not been withdrawn,

 waived, or settled prior to or at the Hearing are overruled.

        A.      Auction Procedures

        3.      The Auction Procedures, substantially in the form attached hereto as Schedule 1,

 are incorporated herein and are hereby approved in their entirety, and the Auction Procedures shall

 govern the submission, receipt, and analysis of all Bids relating to any proposed sale or Auction

 of a Real Property Asset. Any party desiring to submit a Bid shall comply with the Auction

 Procedures and this Final Order. The Debtors are authorized to take any and all actions necessary

 to implement the Auction Procedures. Subject to the terms of the Auction Procedures, the Debtors,
Case 25-14861-MBK             Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                             Desc Main
                                     Document    Page 5 of 107
 (Page | 5)
 Debtors:                  NEW RITE AID, LLC, et al.
 Case No.                  25-14861 (MBK)
 Caption of Order:         Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                           Fee Owned Properties, and (II) Granting Related Relief


 in consultation with the Consultation Parties,2 may modify the Auction Procedures as necessary

 or appropriate to maximize value for their estates.3

         4.       Any deposit provided by a Qualified Bidder shall be held in escrow by the Debtors

 or their agent, and shall not become property of the Debtors’ bankruptcy estates unless and until

 released from escrow to the Debtors pursuant to the terms of the applicable escrow agreement, the

 Auction Procedures, or order of this Court, as applicable.

         5.       If the Debtors do not receive a Qualified Bid as to a particular Real Property Asset

 by the applicable Bid Deadline, at the Debtors’ discretion and in consultation with the Consultation

 Parties, the Auction may be cancelled or adjourned as to such asset. Debtors shall provide notice

 of such cancellation or adjournment promptly to counsel to the Consultation Parties, the Qualified

 Bidders, the applicable Lease Counterparties, if any, and such Lease Counterparties’ counsel if

 known or identifiable from the applicable Lease, and, as soon as reasonably practicable, to post

 such    notice     on     the    website      of    the    Debtors’      Notice      and     Claims      Agent      at

 https://restructuring.ra.kroll.com/RiteAid2025. If the Debtors receive one or more Qualified Bids,




 2
     “Consultation Parties” shall mean (a)(i) the Prepetition ABL Agent and (ii) the Bank of America, N.A., as
     administrative agent and collateral agent under the DIP Facility (the “DIP Agent,” and together with the
     Prepetition ABL Agent, the “Agents”), and any of their respective designees, and (b) the Committee (as defined
     herein); provided, however, that to the extent any Agent submits a Bid for any Real Property Assets, such Agent
     shall not be a Consultation Party with respect to the evaluation and qualification of any competing Bids for any
     Real Property Asset included in such Agent’s Bid or with respect to seeking and/or obtaining information about
     other Bids, but shall remain a Consultation Party for other purposes, as set forth in the Auction Procedures
 3
     For the avoidance of doubt, the Debtors also anticipate that some of their Leases and Fee Owned Properties may
     be sold pursuant to either private sales conducted outside of the Auction Procedures process or the Sales
     Procedures. Nothing in this Final Order limits the Debtors’ ability to include any Lease or Fee Owned Property
     (a) in any private sale or any sale process conducted pursuant to the Sales Procedures, or (b) not sold pursuant to
     sale processes conducted pursuant to the Sales Procedures in a subsequent Auction process conducted pursuant
     to the Auction Procedures.
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                 Desc Main
                                 Document    Page 6 of 107
 (Page | 6)
 Debtors:               NEW RITE AID, LLC, et al.
 Case No.               25-14861 (MBK)
 Caption of Order:      Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                        Fee Owned Properties, and (II) Granting Related Relief


 the Debtors will file a Notice of Qualified Bids on the docket and may conduct the Auction in

 accordance with the Auction Procedures.

        6.      At the Auction, each Qualified Bidder will be entitled, but not obligated, to submit

 overbids and will be entitled in any such overbids to credit bid all or a portion of the value of the

 secured portion of its claims, if any, within the meaning of section 363(k) of the Bankruptcy Code.

 With respect to the applicable proposed cure amount, if any, for each Lease (the “Cure Cost”),

 each counterparty to a Lease (each, a “Lease Counterparty”) proposed to be sold or transferred at

 an Auction may credit bid all or a portion of the applicable Cure Cost proposed by such Lease

 Counterparty; provided that, in no circumstances may a Lease Counterparty credit bid an amount

 that exceeds the total allowable claim that such Lease Counterparty is owed. If such Lease

 Counterparty is the Successful Bidder on the applicable Lease, and it is later determined by this

 Court or agreement by and among the Debtors and such Lease Counterparty that the actual cure

 amount is a lesser amount, then the Lease Counterparty shall pay the difference in cash prior to

 the Closing Deadline. For the avoidance of doubt, any Lease Counterparty bidding on the Lease

 to which it is a counterparty shall be deemed a Qualified Bidder.

        7.      The Auction(s), if any, will be held at the offices of the proposed co-counsel to the

 Debtors Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New

 York, NY 10019 or by videoconference or such other form of remote communication established

 by the Debtors, in consultation with the Consultation Parties. The Auction will be conducted on

 the date and at the time listed in the applicable Auction and Hearing Notice. Except as otherwise

 determined by the Debtors, in consultation with the Consultation Parties, only the Debtors,
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                Desc Main
                                 Document    Page 7 of 107
 (Page | 7)
 Debtors:               NEW RITE AID, LLC, et al.
 Case No.               25-14861 (MBK)
 Caption of Order:      Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                        Fee Owned Properties, and (II) Granting Related Relief


 Consultation Parties, U.S. Trustee, applicable Lease Counterparties (if any), Qualified Bidders,

 and, in each case, the respective representatives and professionals of the foregoing parties, shall

 be entitled to attend the Auction, and only Qualified Bidders will be entitled to make Overbids (as

 defined in the Bidding Procedures) at the Auction. The Debtors shall send written notice (email

 being sufficient) of the date, time, and place of any Auction to the Consultation Parties, the U.S.

 Trustee, the relevant Lease Counterparties (if any), and the Qualified Bidders by no later than

 seven (7) calendar days before such Auction, and will post notice of the date, time, and place of

 such Auction no later than seven (7) calendar days before such Auction on the website of the

 Debtors’ Notice and Claims Agent at https://restructuring.ra.kroll.com/RiteAid2025. The Debtors,

 in consultation with the Consultation Parties, may (a) cancel any Auction, or modify the date, time,

 and place of any Auction and/or instructions to access the Auction by videoconference or such

 other form of remote communication established by the Debtors or (b) amend or rescind the

 proposed list of Real Property Assets contained in an Auction and Hearing Notice (including by

 withdrawing any Real Property Asset from the Auction), by in each case of (a) and (b) hereof,

 (i) providing written notice (email being sufficient) to the Consultation Parties, the U.S. Trustee,

 the applicable Lease Counterparties, and the Qualified Bidders, or, in each case, their counsel, and

 (ii) posting a notice on the website of the Debtors’ Notice and Claims Agent at

 https://restructuring.ra.kroll.com/RiteAid2025; provided, however, that to the extent the Debtors

 amend the proposed list of Real Property Assets contained in an Auction and Hearing Notice to

 add a Real Property Asset to such list, the Objection Deadlines (as defined below) applicable to

 the sale of such asset shall apply as of the date of the filing of the amended Auction and Hearing
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                  Desc Main
                                 Document    Page 8 of 107
 (Page | 8)
 Debtors:               NEW RITE AID, LLC, et al.
 Case No.               25-14861 (MBK)
 Caption of Order:      Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                        Fee Owned Properties, and (II) Granting Related Relief


 Notice. For the avoidance of doubt, the Debtors may also conduct multiple Auctions with respect

 to non-overlapping portions of the Real Property Assets.

        8.      At or following an Auction, the Debtors may, in consultation with the Consultation

 Parties: (a) select, in their business judgment, pursuant to the Auction Procedures, (i) the highest

 or otherwise best Qualified Bid as the Successful Bid and (ii) the second highest or otherwise

 second best Qualified Bid as the Backup Bid, and (b) reject any Bid (regardless of whether such

 Bid is a Qualified Bid) that, in such Debtor’s business judgment, is (i) inadequate, insufficient, or

 not the highest or best Bid, (ii) not in conformity with the requirements of the Bankruptcy Code,

 the Bankruptcy Rules, or the Auction Procedures, or (iii) contrary to, or otherwise not in the best

 interests of, the Debtors’ estates, affected stakeholders, or other parties in interest, in each case

 subject to and in accordance with the Auction Procedures. For the avoidance of doubt, no Debtor

 is required to name a Successful Bidder for any given Real Property Asset or group thereof and

 such Debtor may elect to not sell such asset(s) to the highest or otherwise best bidder.

        9.      In the event the Successful Bidder does not close the sale of any given Real Property

 Asset, within three (3) calendar days thereafter, the Debtors shall file a supplemental notice

 (the “Supplemental Notice of Backup Bidder”) seeking to approve the sale of the applicable asset

 to the Backup Bidder on expedited notice and requesting a hearing as soon as reasonably

 practicable for the parties and the Court. The Backup Bidder, as identified by the applicable Notice

 of Successful and Backup Bidders, shall not be approved at the Sale Hearing. If the Debtors submit

 a Supplemental Notice of a Backup Bidder in connection with the sale of a Lease, the deadline to

 assume or reject the applicable Lease shall be tolled until the applicable hearing.
Case 25-14861-MBK        Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                 Desc Main
                                Document    Page 9 of 107
 (Page | 9)
 Debtors:               NEW RITE AID, LLC, et al.
 Case No.               25-14861 (MBK)
 Caption of Order:      Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                        Fee Owned Properties, and (II) Granting Related Relief


        B.      Stalking Horse Bidders and Bid Protections

        10.     Upon entry of this Final Order, the Debtors shall be authorized, but are not

 obligated or directed, in an exercise of their reasonable business judgment and in consultation with

 the Consultation Parties, to select one or more Stalking Horse Bidders with respect to some or all

 of the Real Property Assets, by no later than the deadline set forth in the applicable Auction and

 Hearing Notice, and enter into a Stalking Horse Agreement, and to provide such Stalking Horse

 Bidders with Stalking Horse Bid Protections, subject to paragraphs 12 and 13 below. The Debtors,

 in consultation with the Consultation Parties, shall be permitted to choose a Stalking Horse Bidder

 through and including twenty-four (24) hours prior to an Auction. However, to the extent such

 Stalking Horse Bidder seeks any expense reimbursement, breakup fees, “topping,” termination, or

 other similar fee or payment on account of the applicable Real Property Asset, a Stalking Horse

 Agreement shall be entered into and paragraphs 12 and 13 herein continue to apply.

        11.     With respect to a Lease sale, no person or entity, other than any Stalking Horse

 Bidder that has not submitted a Credit Bid, shall be entitled to any expense reimbursement, breakup

 fees, “topping,” termination, or other similar fee or payment on account of the Lease(s), and by

 submitting a Bid, such person or entity is deemed to have waived their right to request or to file

 with this Court any request for expense reimbursement or any fee of any nature, whether by virtue

 of section 503(b) of the Bankruptcy Code or otherwise.

        12.     In the event that the Debtors enter into a Stalking Horse Agreement with one or

 more Stalking Horse Bidders, within three (3) calendar days of entry into such agreement, the

 Debtors shall file a notice and proposed form of sale order with the Court (the “Stalking Horse
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                Desc Main
                                Document    Page 10 of 107
 (Page | 10)
 Debtors:               NEW RITE AID, LLC, et al.
 Case No.               25-14861 (MBK)
 Caption of Order:      Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                        Fee Owned Properties, and (II) Granting Related Relief


 Notice”) and serve the Stalking Horse Notice on the master service list maintained in these cases

 and on the Lease Counterparties (and their counsel, if known) for any Lease asset(s) included in

 the Stalking Horse Bid at the notice address provided in the applicable Lease. The Stalking Horse

 Notice shall: (a) set forth the identity of the Stalking Horse Bidder (and if the Stalking Horse

 Bidder is a newly formed entity, then the Stalking Horse Bidder’s parent company or sponsor);

 (b) set forth a summary of the Stalking Horse Agreement; (c) set forth the amount of the Stalking

 Horse Bid and what potion (if any) is cash; (d) specify any proposed expense reimbursement,

 breakup fees, “topping,” termination, or other similar fee or payment on account of the Real

 Property Asset(s) (including the amount and calculation thereof); (e) specify the Real Property

 Asset(s) included in the Stalking Horse Bid; (f) state whether the Stalking Horse Bidder has any

 connection to the Debtors other than those that arise from the Stalking Horse Bid; (g) attach a copy

 of applicable Stalking Horse Agreement, including all exhibits, schedules and attachments thereto;

 and (h) set forth the deadline to object to the Stalking Horse Bidder designation and/or any expense

 reimbursement, breakup fees, “topping,” termination, or other similar fee or payment on account

 of the Real Property Asset. If there are no objections to the Stalking Horse Notice within seven

 (7) calendar days of filing with the Court, (the “Stalking Horse Notice Period”), the Debtors may

 submit an order to the Court that incorporates any comments received during the Stalking Horse

 Notice Period that authorizes the Debtors to designate a Stalking Horse Bidder and to enter into a

 Stalking Horse Agreement, without the need for further hearing. If a party timely files an objection

 to the Stalking Horse Notice, the Court shall hold a hearing after the expiration of the Stalking

 Horse Notice Period and as soon thereafter as the Court is available.
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                  Desc Main
                                Document    Page 11 of 107
 (Page | 11)
 Debtors:               NEW RITE AID, LLC, et al.
 Case No.               25-14861 (MBK)
 Caption of Order:      Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                        Fee Owned Properties, and (II) Granting Related Relief


          13.   The Debtors shall seek approval of any Breakup Fees, or other similar fee or

 payment on account of the Real Property Asset(s) and any other bid protections such as an expense

 reimbursement, at the applicable Sale Hearing, provided that, for the avoidance of doubt, the

 amount of the Breakup Fee shall not exceed three percent (3.00%) of any proposed purchase price

 from the Stalking Horse Bidder; provided, further that the Debtors may only select one Stalking

 Horse Bidder per Real Property Asset.

          C.    Notice of Sale, Auction, and Sale Hearing

          14.   The Debtors may utilize the Auction Procedures for future Auctions by filing with

 the Court either a (a) Lease Auction and Hearing Notice, substantially in the form attached hereto

 as Schedule 2-A, or (b) Fee Owned Property Auction and Hearing Notice, substantially in the

 form attached hereto as Schedule 2-B, and serving such Auction and Hearing Notice on the

 following parties: (a) the office of the United States Trustee for the District of New Jersey; (b) the

 Official Committee of Unsecured Creditors (the “Committee”); (c) the Prepetition ABL Agent and

 counsel thereto; (d) the DIP Agent and counsel thereto; (e) the trustees for the Senior Secured

 Notes and counsel thereto; (f) the United States Attorney’s Office for the District of New Jersey;

 (g) the Internal Revenue Service; (h) the attorneys general in the states where the Debtors conduct

 their business operations; (i) the applicable Lease Counterparties at the notice address provided in

 the applicable Lease (and their counsel, if known); (j) co-counsel to McKesson Corporation,

 (i) McManimon, Scotland & Baumann, LLC, 75 Livingston Avenue, 2nd Floor, Roseland, New

 Jersey    07068     (Attn: Anthony    Sodono    (asodono@msbnj.com),         and   Michele     Dudas

 (mdudas@msnbj.com)) and (ii) Sidley Austin LLP, One South Dearborn, Chicago, Illinois 60603
Case 25-14861-MBK        Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                 Desc Main
                               Document    Page 12 of 107
 (Page | 12)
 Debtors:               NEW RITE AID, LLC, et al.
 Case No.               25-14861 (MBK)
 Caption of Order:      Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                        Fee Owned Properties, and (II) Granting Related Relief


 (Attn: Dennis M. Twomey (dtwomey@sidley.com)), and Buchalter P.C., 18400 Von Karman

 Avenue,      Suite   800,    Irvine,   CA      92612-0514      (Attn:    Jeffrey   K.     Garfinkle

 (jgarfinkle@buchalter.com)); and (k) any party that has requested notice pursuant to Bankruptcy

 Rule 2002 (collectively, the “Auction Notice Parties”).

        15.     The Auction and Hearing Notice shall contain, as applicable under the Auction

 Procedures: (a) all relevant dates and times, including those related to (i) when all Bids must be

 actually received (the “Bid Deadline”), (ii) when the relevant Auction will occur, (iii) when the

 Notice of Successful and Backup Bidder(s) must be filed with the Court, (iv) the deadline by which

 a party must file and serve objections, and (v) when the Court will hear the applicable Sale

 Hearing; (b) details regarding the Qualified Bids; (c) notice of the Closing Deadline; (d) a list of

 the Leases or Fee Owned Real Properties proposed to be sold at the Auction; and (e) a copy of the

 Auction Procedures approved herein.

        16.     If, following the Auction Objection Deadline, there are any changes to the dates

 included in the Auction and Hearing Notice, then as soon as reasonably practicable following the

 Auction Objection Deadline, the Debtors will file and serve on the Objection Notice Parties and

 each applicable Lease Counterparty (and its counsel, if known) an amended Auction and Hearing

 Notice; provided that, the dates for the Auction and the Sale Hearing in the amended Auction and

 Hearing Notice shall not be any earlier than those provided in the original Auction and Hearing

 Notice. The Auction and Hearing Notice will indicate that copies of the Bidding Procedures Order

 and any future sale documents, if applicable, can be obtained on the Case Website.
Case 25-14861-MBK        Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                 Desc Main
                               Document    Page 13 of 107
 (Page | 13)
 Debtors:               NEW RITE AID, LLC, et al.
 Case No.               25-14861 (MBK)
 Caption of Order:      Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                        Fee Owned Properties, and (II) Granting Related Relief


        17.     The Debtors shall file and serve by first-class mail (and email, where available) any

 Auction and Hearing Notice at least twenty-one (21) calendar days prior to the proposed Sale

 Hearing on the Auction Notice Parties. Such notice is deemed sufficient and proper notice with

 respect to known interested parties.

        18.     Pursuant to Local Rule 6004-2(c)(2): (a) each bidder participating at an Auction

 shall be required to confirm that it has not engaged in any collusion with respect to the bidding or

 the sale of any Real Property Assets, as set forth in the Auction Procedures; (b) the Auction shall

 be conducted openly; and (c) the Auction shall be documented, recorded, or videotaped.

        19.     After the conclusion of an Auction, and within one (1) calendar day thereafter, the

 Debtors will file on the docket and serve on the Objection Notice Parties, the applicable Successful

 Bidder(s) and Backup Bidder(s), if known, and, if applicable, any Lease Counterparties (and their

 counsel, if known), a notice identifying the Successful Bidder(s) and Backup Bidder(s)

 (the “Notice of Successful and Backup Bidders”), substantially in the form attached to this Final

 Order as Schedule 3-A (for Lease sales) or Schedule 3- B (for Fee Owned Property sales),

 identifying, the Successful Bidder(s), the Real Property Asset(s) sold, the key terms of the

 applicable sale(s) or transfer agreement(s), the Backup Bidder(s), and, for Lease sales, the

 Assumption and Assignment Information and a proposed form of Assumption Order.

        20.     Objections or responses to the approval of any Auction or the proposed sale of any

 Real Property Asset at such Auction (a “General Auction Objection”) must be (a) filed with the

 Court and (b) served on the Objection Notice Parties so as to actually be received by no later than

 5:00 p.m. (prevailing Eastern Time) on the date that is seven (7) calendar days after the Debtors
Case 25-14861-MBK            Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                            Desc Main
                                   Document    Page 14 of 107
 (Page | 14)
 Debtors:                  NEW RITE AID, LLC, et al.
 Case No.                  25-14861 (MBK)
 Caption of Order:         Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                           Fee Owned Properties, and (II) Granting Related Relief


 file the applicable Auction and Hearing Notice (the “General Objection Deadline”). Objections or

 responses to the approval of any Successful Bidder(s), the Backup Bidder(s), the key terms of any

 applicable sale(s) or transfer agreement(s) of such Successful Bidder(s) or Backup Bidders, or the

 assignment of a Lease to a Successful Bidder (including any Objections related to Cure Costs and

 adequate assurance of future performance)4 (each, a “Specific Auction Objection” and together

 with a General Auction Objection, an “Objection”) must be filed no later than fourteen (14)

 calendar days after the Notice of Successful and Backup Bidders is filed (the “Specific Objection

 Deadline” and together with the General Objection Deadline, the “Objection Deadline”).5 Specific

 Auction Objections may not raise objections that could have been raised in a General Auction

 Objection. In the event that no Objection is timely received by the applicable Objection Deadline,

 the Court may enter final orders authorizing the proposed sale of any Real Property Asset(s) to

 which there was no Objection without further notice or a hearing.

         D.       Assumption and Assignment Procedures

         21.      The procedures set forth below regarding the assumption and assignment of the

 Leases proposed to be assumed by the Debtors pursuant to section 365(b) of the Bankruptcy Code

 and assigned to the Successful Bidder(s), if any, pursuant to section 364(f) of the Bankruptcy Code

 in connection with the sale of a Lease are hereby approved to the extent set forth herein.



 4
     For the avoidance of doubt, the Debtors, proposed Assignee, and applicable Lease Counterparty may otherwise
     mutually agree to shorten the Specific Auction Objection Deadline for Objections to the assignment of a Lease to
     a Successful Bidder (including for Objections related to Cure Costs or adequate assurance of future performance).
 5
     The Debtors may, in their discretion and in consultation with the Consultation Parties, file a Notice of Auction
     and Hearing consolidating the General Objection Deadline with the Specific Objection Deadline, thereby setting
     a single Objection Deadline, which shall be no earlier than twenty-one (21) calendar days after the Notice of
     Auction and Hearing is filed, by which a party must file an Objection (if any).
Case 25-14861-MBK             Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                             Desc Main
                                    Document    Page 15 of 107
 (Page | 15)
 Debtors:                  NEW RITE AID, LLC, et al.
 Case No.                  25-14861 (MBK)
 Caption of Order:         Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                           Fee Owned Properties, and (II) Granting Related Relief


          22.     The assumption and assignment procedures set forth below are hereby approved

 and shall be the procedures by which the Debtors will notify the Lease Counterparties of Cure

 Costs.

                  (a) Service of Notice of Successful and Backup Bidders. The Debtors will cause
                      the Notice of Successful and Backup Bidders to be served (a) by email or
                      overnight mail upon the Lease Counterparties listed on the Notice of Successful
                      and Backup Bidders (and their counsel, if known, by email) at the address set
                      forth in the notice provision of the applicable Lease and (b) by email or first-
                      class mail upon the Objection Notice Parties, as such term is defined in
                      subparagraph (c) below.

                  (b) Service of Adequate Assurance Package. The Debtors will provide by email
                      or overnight delivery to the applicable Lease Counterparty (and their counsel,
                      if known, by email), within twenty-four (24) hours of the Auction, evidence
                      that the Assignee has the ability to comply with the requirements of adequate
                      assurance of future performance required under sections 365(b)(1) or 365(b)(3)
                      of the Bankruptcy Code, as applicable, including audited and unaudited
                      financial statements, tax returns, bank account statements, and a description of
                      the proposed business to be conducted at the premises and/or any other
                      documentation that the Debtors further request (the “Adequate Assurance
                      Package”);6 provided that, Lease Counterparties shall not be required to provide
                      adequate assurance of future performance with respect to their Bid on any Lease
                      such Lease Counterparty owns.

                  (c) Filing and Service of Objections. Parties objecting to the proposed sale,
                      assumption and assignment of a Lease, a Successful Bidder’s proposed form of
                      adequate assurance of future performance, and/or Cure Costs must file an
                      Objection, so that such Objection is filed with the Court by no later than

 6
     The Adequate Assurance Package may (but is not required to) include (a) the proposed assignee’s specific name
     (and the name under which the proposed assignee intends to operate the premises), the proposed assignee’s and
     any guarantor’s business plans (which shall disclose the intended use of the leased premises and a description of
     the proposed business to be conducted at the premises), including sales and cash flow projections; (b) a corporate
     organizational chart or similar disclosure identifying ownership and control of the proposed assignee of the Lease;
     (c) audited or unaudited financial statements, tax returns, bank account statements, or annual reports; (d) any
     financial projections, calculations, and/or financing pro formas prepared in contemplation of purchasing each
     Lease; (e) any documents regarding the proposed assignee’s and any guarantor’s experience in operating retail
     stores (including the number of retail stores the proposed assignee and any guarantor operates and the trade names
     used); (f) any additional evidence of the proposed assignee’s financial wherewithal, including available cash and
     any debt or equity commitments or other forms of liquidity post-closing; and (g) any other documentation that
     the Debtors may further request.
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                 Desc Main
                                Document    Page 16 of 107
 (Page | 16)
 Debtors:               NEW RITE AID, LLC, et al.
 Case No.               25-14861 (MBK)
 Caption of Order:      Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                        Fee Owned Properties, and (II) Granting Related Relief


                     5:00 p.m. (prevailing Eastern Time) on the date set forth in the applicable Lease
                     Auction and Hearing Notice (which shall be no sooner than fourteen (14)
                     calendar days from the filing of the Notice of Successful and Backup Bidders)
                     and serve such Objection on the following parties (collectively, the “Objection
                     Notice Parties”): (a) the Debtors’ proposed co-counsel, (i) Paul, Weiss,
                     Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New York,
                     New York 10019 (Attn: Alice Belisle Eaton (aeaton@paulweiss.com),
                     Christopher Hopkins (chopkins@paulweiss.com), and Sean Mitchell
                     (smitchell@paulweiss.com)) and (ii) Cole Schotz, P.C., Court Plaza North, 25
                     Main Street, Hackensack, New Jersey 07601 (Attn: Michael D. Sirota
                     (msirota@coleschotz.com), Warren A. Usatine (wusatine@coleschotz.com),
                     Felice R. Yudkin (FYudkin@coleschotz.com), and Seth Van Aalten
                     (svanaalten@coleschotz.com)); (b) the United States Trustee for the District of
                     New Jersey, One Newark Center, Suite 2100, Newark, NJ 07102, Attn: Jeffrey
                     M. Sponder and Lauren Bielskie (the “U.S. Trustee”); (c) counsel to the
                     Prepetition ABL Agent and the DIP Agent, (i) Choate, Hall & Stewart LLP,
                     Two International Place, Boston, MA 02110 (Attn: John F. Ventola
                     (jventola@choate.com), Jonathan D. Marshall (jmarshall@choate.com) and
                     Mark D. Silva (msilva@choate.com)) and (ii) Greenberg Traurig, LLP, 500
                     Campus Drive, Suite 400, Florham Park, NJ 07932 (Attn: Alan J. Brody
                     (brodya@gtlaw.com) and Julia Frost-Davies (julia.frostdavies@gtlaw.com));
                     (d) proposed co-counsel to the Committee, (i) Willkie Farr & Gallagher LLP
                     787 Seventh Avenue, New York, NY 10019-6099 (Attn: Brett H. Miller
                     (bmiller@willkie.com), Todd M. Goren (tgoren@willkie.com), James H.
                     Burbage      (jburbage@willkie.com),        and       Jessica      D.     Graber
                     (jgraber@willkie.com)), and (ii) Sills Cummis & Gross P.C., One Riverfront
                     Plaza, Newark, New Jersey 07102 (Attn: Andrew H. Sherman
                     (asherman@sillscummis.com),                   Boris                Mankovetskiy
                     (bmankovetskiy@sillscummis.com),             and         Gregory          Kopacz
                     (gkopacz@sillscummis.com)); (e) any affected Lease Counterparty or their
                     known counsel; (f) the applicable Successful Bidder(s) and Backup Bidder(s),
                     if known; and (g) co-counsel to McKesson Corporation, (i) McManimon,
                     Scotland & Baumann, LLC, 75 Livingston Avenue, 2nd Floor, Roseland, New
                     Jersey 07068 (Attn: Anthony Sodono (asodono@msbnj.com), and Michele
                     Dudas (mdudas@msnbj.com)) and (ii) Sidley Austin LLP, One South
                     Dearborn, Chicago, Illinois 60603 (Attn: Dennis M. Twomey
                     (dtwomey@sidley.com)), and Buchalter P.C., 18400 Von Karman Avenue,
                     Suite 800, Irvine, CA 92612-0514 (Attn: Jeffrey K. Garfinkle
                     (jgarfinkle@buchalter.com)).
Case 25-14861-MBK       Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                 Desc Main
                              Document    Page 17 of 107
 (Page | 17)
 Debtors:             NEW RITE AID, LLC, et al.
 Case No.             25-14861 (MBK)
 Caption of Order:    Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                      Fee Owned Properties, and (II) Granting Related Relief


               (d) No Objection. If no Objection is filed timely by the applicable Objection
                   Deadline, the Court may enter an order approving the assumption or assumption
                   and assignment of such Lease (an “Assumption Order”) with no further hearing.

               (e) Consequences of Failing to Timely File Objection. If a Lease Counterparty
                   does not file and serve an Objection in a manner that is consistent with the
                   requirements set forth herein, and, absent a subsequent order of the Court in
                   connection with such Objection establishing alternative Cure Costs or an
                   agreement between the Debtors and the applicable Lease Counterparty
                   resolving such Objection, (a) the Cure Costs, if any, set forth in the applicable
                   Notice of Successful and Backup Bidders shall be controlling, notwithstanding
                   anything to the contrary in any assigned Lease or any other document, and
                   (b) the Lease Counterparty will be deemed to have consented to the assumption
                   and assignment of the assigned Lease and the Cure Costs, if any, and will be
                   forever barred from asserting any other claims related to such assigned Lease
                   against the Debtors, the Successful Bidder, and the Assignee or the property of
                   any of them. For the avoidance of doubt, no Lease shall be deemed assumed or
                   assumed and assigned absent entry of an Assumption Order in respect of that
                   Lease.

               (f) Objection Timely Filed. If an Objection is timely filed and served by the
                   applicable Objection Deadline, the Debtors may schedule a Sale Hearing no
                   earlier than seven (7) days after the Specific Objection Deadline, unless
                   otherwise agreed to by the Debtors and the objecting party and upon
                   consultation with the Consultation Parties. Notwithstanding anything herein to
                   the contrary, the Debtors reserve the right to (i) determine, in their discretion
                   and in consultation with the Consultation Parties, whether to proceed with the
                   sale of any Lease at any time prior to the entry of an Assumption Order for such
                   Lease, and (ii) adjourn, reschedule, or cancel any Sale Hearing, in consultation
                   with the Consultation Parties, and upon filing of a notice of such adjourned,
                   rescheduled, or cancelled Sale Hearing with the Court.

               (g) Miscellaneous. The inclusion of an assigned Lease on the Notice of Successful
                   and Backup Bidders will not: (a) obligate the Debtors to assume and assign any
                   Lease listed thereon or the Successful Bidder to take assignment of such
                   assumed Lease; or (b) constitute any admission or agreement of the Debtors
                   that such assigned Lease is an unexpired lease for non-residential real property.
                   Only those assumed Leases that are included on a schedule of assumed and
                   acquired contracts attached to a final Assumption and Assignment Agreement
                   with a Successful Bidder (including amendments or modifications to such
                   schedules in accordance with such Assumption and Assignment Agreement)
                   will be assumed and assigned to the applicable Successful Bidder. No assigned
Case 25-14861-MBK          Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                 Desc Main
                                 Document    Page 18 of 107
 (Page | 18)
 Debtors:                NEW RITE AID, LLC, et al.
 Case No.                25-14861 (MBK)
 Caption of Order:       Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                         Fee Owned Properties, and (II) Granting Related Relief


                     Leases shall be assumed absent closing on the assignment thereof to the
                     applicable Successful Bidder and entry of an Assumption Order, unless
                     otherwise agreed to by the Debtors, the Successful Bidder, and the applicable
                     Lease Counterparty.

         E.      Fee Owned Property Sale Notification Procedures

         23.     The procedures set forth below for the sale of the Debtors’ Fee Owned Properties

 are hereby approved and shall be the procedures by which the Debtors will notify the parties in

 interest of the sale of such assets.

                 (a) Service of Notice of Successful and Backup Bidders. The Debtors will cause
                     the Notice of Successful and Backup Bidders to be served by email or first-class
                     mail upon the Objection Notice Parties.

                 (b) Filing and Service of Fee Owned Property Sale Objection. Parties objecting
                     to the proposed sale of a Fee Owned Property must file an Objection by the
                     Objection Deadline set forth in the applicable Fee Owned Property Auction and
                     Hearing Notice and serve such objection on the Objection Notice Parties.

                 (c) No Fee Owned Property Sale Objection. If no Objection to the proposed sale
                     of a Fee Owned Property is timely filed, each such sale shall be closed as of the
                     applicable Closing Date set forth in the applicable Notice of Successful and
                     Backup Bidders or such other date as the Debtors, in consultation with the
                     Consultation Parties, and the applicable purchaser agree.

                 (d) Consequences of Failing to Timely File Fee Owned Property Sale
                     Objection. If a party in interest does not file and serve an Objection in a manner
                     that is consistent with the requirements set forth herein and, absent a subsequent
                     order of the Court in connection with such Fee Owned Property Sale Objection
                     or an agreement between the Debtors and the applicable party in interest
                     resolving such objection, the party in interest will be deemed to have consented
                     to the sale of the applicable Fee Owned Property, and will be forever barred
                     from asserting any other claims related to such Fee Owned Property against the
                     Debtors, the Successful Bidder, and the purchaser or the property of any of
                     them.
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                  Desc Main
                                Document    Page 19 of 107
 (Page | 19)
 Debtors:               NEW RITE AID, LLC, et al.
 Case No.               25-14861 (MBK)
 Caption of Order:      Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                        Fee Owned Properties, and (II) Granting Related Relief


        F.      Miscellaneous

        24.     The failure to include or reference a particular provision of the Auction Procedures

 in this Final Order shall not diminish or impair the effectiveness or enforceability of such a

 provision in the Auction Procedures.

        25.     The Court, at the request of the Debtors (in consultation with the Consultation

 Parties) and subject to the Court’s availability, may modify the dates of and adjourn any hearing

 set pursuant to this Final Order without further order of this Court, provided that the Debtors will

 serve notice to all requisite parties informing them of such modification.

        26.     The Debtors, in consultation with the Consultation Parties, may modify any of the

 deadlines set forth herein or provide for additional deadlines, provided that the Debtors will

 disclose all applicable deadlines in the applicable Auction and Hearing Notice.

        27.     All Bids shall be irrevocable. If any Successful Bidder or Backup Bidder seeks to

 revoke its Bid for any reason or otherwise does not cooperate with the Debtors to seek approval of

 the Bid, then the Debtors shall be entitled to retain such bidder’s deposit and pursue all contractual

 remedies against such bidder under law and equity.

        28.     The Debtors may, in consultation with the Consultation Parties, modify any deposit,

 as necessary or appropriate, based on the Real Property Asset(s) being sold.

        29.     The Debtors are authorized to establish one more or escrow accounts to accept

 deposits from Qualified Bidders and may pay any reasonable fees related to such account. For the

 avoidance of doubt, the Debtors are authorized to enter into an escrow account agreement with

 Kroll Restructuring Administration LLC (“Kroll”), pursuant to which Kroll will act as the Debtors’
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                   Desc Main
                                Document    Page 20 of 107
 (Page | 20)
 Debtors:               NEW RITE AID, LLC, et al.
 Case No.               25-14861 (MBK)
 Caption of Order:      Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                        Fee Owned Properties, and (II) Granting Related Relief


 third-party escrow agent for any Escrow Accounts established thereunder, and to pay the

 reasonable fees incurred in connection with such agreement. Any deposits made by Qualified

 Bidders into any Escrow Account shall not be property of the Debtors.

        30.     Except to the extent deemed unenforceable under the Bankruptcy Code by this

 Court at the Sale Hearing, or subsequent hearing, as applicable, all provisions of the applicable

 assigned Lease, including any provision limiting future assignment, shall be binding on the

 applicable Assignee after consummation of the assignment of such Lease by the Debtors to the

 Assignee.

        31.     The Assignee, or Debtors, pursuant to the applicable agreement, shall assume and

 cure all outstanding liabilities with respect to each assigned Lease, including, but not limited to,

 accrued but unbilled amounts or adjustments related to common area maintenance, real estate

 taxes, and insurance. All parties reserve all rights with respect to the extent other obligations are

 assumed.

        32.     With regard to Leases to be assigned or Fee Owned Properties to be sold, pursuant

 to sections 105(a) and 363(f) of the Bankruptcy Code, such assignment or sale or transfer shall

 (a) be free and clear of (i) all interests including, but not limited to, any liens, claims, rights,

 interests, charges, or encumbrances, except with respect to any interests related to reciprocal

 easement agreements or that may be assumed liabilities under a Successful Bidder’s Assumption

 and Assignment Agreement or Purchase Agreement (as applicable) (collectively, the “Interests”)

 and any Interests shall attach to the proceeds in the same order and priority, as applicable, and

 subject to all existing defenses, claims, setoffs, and rights and (ii) any and all claims (as that term
Case 25-14861-MBK            Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                           Desc Main
                                   Document    Page 21 of 107
 (Page | 21)
 Debtors:                  NEW RITE AID, LLC, et al.
 Case No.                  25-14861 (MBK)
 Caption of Order:         Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                           Fee Owned Properties, and (II) Granting Related Relief


 is defined in section 101(5) of the Bankruptcy Code), obligations, demands, guarantees of or by

 the Debtors, debts, rights, contractual commitments, restrictions, interests, and matters of any kind

 and nature, whether arising prior to or subsequent to the commencement of these chapter 11 cases,

 and whether imposed by agreement, understanding, law, equity, or otherwise (including, without

 limitation, claims and encumbrances (A) that purport to give to any party a right or option to effect

 any forfeiture, modification, or termination of the interest of any Debtor or Assignee, as the case

 may be, in the Lease(s) (but only in connection with the assignment by the Debtor to the Assignee),

 provided that any such assignment shall not be free and clear of any accrued but unbilled or not

 due rent and charges under a lease of non-residential real property, including adjustments,

 reconciliations, and indemnity obligations, liability for which shall be assumed or assumed and

 assigned by the Debtors or the applicable Assignee, as agreed by and among the Debtors and the

 applicable Assignee or (B) in respect of any taxes), and (b) constitute a legal, valid, and effective

 transfer of such Lease(s) or Fee Owned Properties and vest the applicable Assignee or purchase

 with all rights, titles, and interests to the applicable Real Property Asset.

         33.      Nothing in this Final Order shall prohibit the Debtors, in consultation with the

 Consultation Parties, from (a) removing any Real Property Asset from any Auction at any time,

 (b) adding any Real Property Asset to any Auction pursuant to the notice requirements included in

 this Final Order and the Auction Procedures,7 or (c) selling any Real Property Asset pursuant to

 any other motion or order entered by this Court, including, for the avoidance of doubt, the Bidding


 7
     To the extent the Debtors add a Real Property Asset to the proposed list of Real Property Assets contained in an
     amended Auction and Hearing Notice, the Objection Deadlines applicable to the sale of such asset shall apply as
     of the date of the filing of the amended Auction and Hearing Notice.
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                  Desc Main
                                Document    Page 22 of 107
 (Page | 22)
 Debtors:               NEW RITE AID, LLC, et al.
 Case No.               25-14861 (MBK)
 Caption of Order:      Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                        Fee Owned Properties, and (II) Granting Related Relief


 Procedures Motion. The Debtors’ right to seek authority to sell any Lease or Fee Owned Property

 pursuant to a separate process or separate order of this Court is reserved.

        34.     In connection with any sale, the Debtors reserve their rights to seek to render

 unenforceable any right of first refusal over the sale of any Lease, pursuant to section 365(f) of the

 Bankruptcy Code.

        35.     Notwithstanding anything to the contrary in the Interim Order, this Order or the

 Auction Procedures, none of the Debtors’ insurance policies (and/or any agreements related thereto

 between any of the Debtors, on the one hand, and the applicable insurer(s) and/or third-party

 administrators, on the other hand), including, without limitation, any collateral or security provided

 by or on behalf of any of the Debtors, and any rights, proceeds, benefits, claims, rights to payments

 and/or recoveries thereunder and/or any claims handling service agreements, shall be abandoned,

 sold, assigned, or otherwise transferred without the express prior written consent of the applicable

 insurer and/or third-party administrator.

        36.     The requirements set forth in Bankruptcy Rule 6003 are satisfied by the contents of

 the Motion or otherwise deemed waived.

        37.     In the event of any inconsistencies between this Final Order and the Motion and/or

 the Auction Procedures, this Final Order shall govern in all respects.

        38.     The Debtors, in consultation with the Consultation Parties, are authorized to take

 all actions necessary to effectuate the relief granted pursuant to this Final Order in accordance with

 the Motion.
Case 25-14861-MBK        Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                 Desc Main
                               Document    Page 23 of 107
 (Page | 23)
 Debtors:               NEW RITE AID, LLC, et al.
 Case No.               25-14861 (MBK)
 Caption of Order:      Final Order (I) Establishing Procedures for the Sale of Certain Leases and
                        Fee Owned Properties, and (II) Granting Related Relief


        39.     Notwithstanding Bankruptcy Rule 6004(h), to the extent applicable, this Final

 Order shall be effective and enforceable immediately upon entry hereof.

        40.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

 or otherwise waived.

        41.     This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Final Order.
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                          Document    Page 24 of 107



                                  Schedule 1

                              Auction Procedures
Case 25-14861-MBK             Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                           Desc Main
                                    Document    Page 25 of 107



                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW JERSEY


 In re:                                                       Chapter 11

 NEW RITE AID, LLC, et al.,                                   Case No. 25-14861 (MBK)

                                     Debtors.1                (Jointly Administered)




                             PROCEDURES FOR THE
      SUBMISSION, RECEIPT, AND ANALYSIS OF BIDS IN CONNECTION WITH THE
     SALE OF CERTAIN OF THE DEBTORS’ LEASES AND FEE OWNED PROPERTIES

         On May 5, 2025 (the “Petition Date”), the above-captioned debtors and debtors in
 possession (collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of title
 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), in the United
 States Bankruptcy Court for the District of New Jersey (the “Court”).

         On May 6, 2025, the Debtors filed the Debtors’ Motion for Entry of Interim and Final
 Orders (I) Establishing Procedures for the Sale of Certain Leases and Fee Owned Properties, and
 (II) Granting Related Relief [Docket No. 22] (the “Motion”), seeking approval of, among other
 things, the procedures contained herein (as modified from time to time, the “Auction Procedures”).

         On [●], 2025, the Court entered the Final Order (I) Establishing Procedures for the Sale
 of Certain Leases and Fee Owned Properties, and (II) Granting Related Relief [Docket No. [●]]
 (the “Order”),2 by which the Court approved these Auction Procedures. These Auction Procedures
 set forth the process by which the Debtors are authorized to solicit bids for and conduct auctions
 (collectively, the “Auctions,” and each, an “Auction”) for a sale or transfer of certain unexpired
 leases of non-residential real property (collectively, the “Leases,” and each, a “Lease”) or a sale or
 transfer of certain owned real estate (collectively, the “Fee Owned Properties,” and each, a “Fee
 Owned Property”).




 1
      The last four digits of Debtor New Rite Aid, LLC’s tax identification number are 1843. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid2025.
      The location of Debtor New Rite Aid, LLC’s principal place of business and the Debtors’ service address in these
      chapter 11 cases is 200 Newberry Commons, Etters, Pennsylvania 17319.
 2
      All capitalized terms used but not otherwise defined herein shall have the meanings given to them in the Motion,
      the Order, or the First Day Declaration, as applicable.
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                 Desc Main
                                Document    Page 26 of 107




 Copies of the Interim Order or the Final Order (as applicable), and any other documents in the
 Debtors’ chapter 11 cases are available upon request to Kroll Restructuring Administration LLC
 by calling (888) 575-9318 (toll free) or +1 (646) 930-4577 (international) or visiting the Debtors’
 restructuring website at (https://restructuring.ra.kroll.com/RiteAid2025).

        A.      Real Property Assets to be Auctioned; Distribution of Auction Procedures

         The Debtors are seeking to sell certain of the Debtors’ Leases and/or Fee Owned Properties.
 For any sale of the Leases (including through the sale of designation rights related thereto) or Fee
 Owned Properties in these chapter 11 cases (the “Bankruptcy Case”), A&G Realty Partners, LLC
 and/or any such other agent of the Debtors shall, at the Debtors’ direction, distribute these Auction
 Procedures to any potential interested bidders. The Debtors, in the exercise of their reasonable
 business judgment and in consultation with the Consultation Parties, may elect to exclude or
 remove (at any time prior to the entry of a Sale Order (as defined below)) any Leases or Fee Owned
 Properties from these Auction Procedures and sell such Leases or Fee Owned Properties at either
 a private or public sale, subject to Court approval of any alternative sale method. Furthermore,
 the Debtors may determine, in their discretion and in consultation with the Consultation Parties,
 whether to proceed with the sale of any Lease or Fee Owned Property pursuant to these Auction
 Procedures.

        B.      Public Announcement of Auctions.

          The Debtors may utilize the Auction Procedures for future Auctions by (a) filing with the
 Court and serving on the Auction Notice Parties an auction and hearing notice (the “Auction and
 Hearing Notice”), substantially in the form attached to the Final Order as Schedule 2-A (for
 Auctions of Lease assets) or Schedule 2-B (for Auctions of Fee Owned Property Assets) and
 (b) posting the applicable Auction and Hearing Notice on their case website,
 https://restructuring.ra.kroll.com/RiteAid2025.

        C.      Eligibility of Bidders to Participate in Auction.

        To participate in the Auction process or otherwise be considered for any purpose
 hereunder, including to receive access to due diligence materials, a person or entity interested in
 purchasing a Lease, a Fee Owned Property, or any group of such assets (a “Potential Bidder”) must
 be determined by the Debtors, in their reasonable business judgment and in consultation with the
 Consultation Parties, to be a Qualified Bidder (as defined below).

         Any counterparty to a Lease (each, a “Lease Counterparty”) proposed to be sold or
 transferred at the Auction shall be deemed a Qualified Bidder. Lease Counterparties may credit
 bid all or a portion of the applicable cure amount proposed by such Lease Counterparty. If such
 Lease Counterparty is the Successful Bidder on a Lease to which it is a party, and it is later
 determined by this Court or agreement by and among the Debtors and applicable Lease
 Counterparty that the actual cure amount is a lesser amount, then such Lease Counterparty shall
 pay the difference in cash prior to the Closing Deadline.



                                                  2
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                Desc Main
                                Document    Page 27 of 107



        The Debtors may approve a joint Bid in their reasonable business judgment, in consultation
 with the Consultation Parties, on a case-by-case basis, so long as a joint Bid otherwise meets the
 Qualified Bid requirements set forth in Section (D) below, and the applicable bidders otherwise
 comply with these Auction Procedures.

        D.      Qualification of Bidders

         Except as otherwise set forth herein or agreed to by the Debtors in writing (email being
 sufficient), in order to be considered for status as a Qualified Bidder and to have a Qualified Bid,
 a bidder must:

        (i)     Deliver via email and first class mail to (1) A&G Realty Partners, LLC, 445
                Broadhollow Rd., Ste. 410, Melville, NY 11747 (Attn:                 Andy Graiser,
                andy@agrep.com); (2) Debtors’ proposed co-counsel, (i) Paul, Weiss, Rifkind,
                Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, NY 10019,
                (Attn: Alice Belisle Eaton (aeaton@paulweiss.com), Christopher Hopkins
                (chopkins@paulweiss.com), and Nick Krislov (nkrislov@paulweiss.com)) and
                (ii) Cole Schotz P.C., Court Plaza North, 25 Main Street, Hackensack, New Jersey
                07601 (Attn: Michael D. Sirota (msirota@coleschotz.com), Warren A. Usatine
                (wusatine@coleschotz.com), Felice R. Yudkin (FYudkin@coleschotz.com), and
                Seth Van Aalten (svanaalten@coleschotz.com)), so as to be received before 5:00
                p.m. (prevailing Eastern time) on the applicable Bid Deadline, an irrevocable, good
                faith, and bona fide written offer (a “Bid”) to purchase the applicable Lease or Fee
                Owned Property (such Bid that meets the below requirements, a “Qualified Bid,”
                and such Bidder, a “Qualified Bidder”) that:

                (a)     Consists of, either (a) for Leases, an executed form of the “Assumption and
                        Assignment Agreement,” for Leases, attached hereto as Exhibit A-1, (b) for
                        Fee Owned Property, an executed form of the “Purchase Agreement,”
                        attached hereto as Exhibit A-2; (c) for a Lease Counterparty bidding on a
                        Lease to which it is a party, an executed form of the “Lease Termination
                        Agreement” attached hereto as Exhibit A-3 or (d) a proposed “Designation
                        Rights Agreement” (if applicable).

                (b)     Includes (i) for parties submitting an agreement pursuant to subparagraph
                        D(i)(a)(a)-(c), (x) a Microsoft Word copy of the relevant agreement and (y)
                        a PDF “redline” showing any proposed revisions to the form of Assumption
                        and Assignment Agreement, Purchase Agreement, or Lease Termination
                        Agreement (as applicable), and (ii) for parties submitting a Designation
                        Rights Agreement pursuant to subparagraph D(i)(a), a redline showing any
                        proposed revisions to the form of order approving the sale or transfer of the
                        Real Property Asset to the proposed purchaser. Any bidder may propose to
                        purchase more than one Real Property Asset. The applicable agreement
                        shall be marked to reflect differences as to the Leases or Fee Owned
                        Properties to be purchased.




                                                  3
Case 25-14861-MBK    Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                   Desc Main
                           Document    Page 28 of 107



            (c)     Is accompanied by a completed bidder registration form, substantially in the
                    form attached hereto as Exhibit B (the “Bidder Registration Form”), which
                    must detail which of the Leases or Fee Owned Properties up for sale the
                    Qualified Bidder proposes to purchase and list an allocation of a portion of
                    the aggregate proposed purchase price to each Lease or Fee Owned Property
                    included in its total Bid. A single bidder or group of bidders may purchase
                    one Lease or Fee Owned Property or a combination of the Leases or Fee
                    Owned Properties that the Debtors designate as available for sale. If a
                    bidder or group of bidders submits an offer for a combination of Leases or
                    Fee Owned Properties, such bidder or group of bidders must indicate if it
                    would be willing to purchase any of such assets if not sold as a group and,
                    if so, provide a schedule indicating the Bid as to any individual or sub-group
                    of Leases or Fee Owned Properties that such bidder would purchase and the
                    allocation of a portion of the aggregate purchase price for any subgroup to
                    each asset in such subgroup. The Debtors reserve the right to determine, in
                    consultation with the Consultation Parties, whether to auction any Leases
                    or Fee Owned Properties as part of a group or individually up through and
                    including at the Auction or to conduct an Auction of any Lease or Fee
                    Owned Property both individually and as part of a group in order to
                    determine which option maximizes value of such assets.

            (d)     Contains no contingencies to the validity, effectiveness, and/or binding
                    nature of the Bid, including without limitation, contingencies for due
                    diligence and inspection or financing of any kind.

            (e)     Contains sufficient documentation which demonstrate, in the Debtors’
                    reasonable business judgment, in consultation with the Consultation Parties,
                    that the bidder has financial resources sufficient to close the transaction
                    within twenty-one (21) calendar days after the Auction, which evidence
                    may include, without limitation, evidence of cash on hand, a binding
                    financing commitment from an established and financially sound financial
                    institution or investment fund and the identity of contact persons at the
                    entity issuing such commitment letter.

            (f)     Demonstrates, to the satisfaction of the Debtors, in consultation with the
                    Consultation Parties, that the bidder has the legal capacity to consummate
                    the transaction it is proposing.

            (g)     Includes a statement from the bidder that: (i) it is prepared to enter into and
                    consummate the transactions contemplated in the Assumption and
                    Assignment Agreement or the Purchase Agreement (as applicable)
                    immediately upon entry by the Court of an order approving the sale of such
                    asset(s) to such bidder; and (ii) the Qualified Bid, if determined to be a
                    Successful Bid (as defined below) or Backup Bid (as defined below), will
                    then be irrevocable for a period of thirty (30) calendar days after the
                    conclusion of the Auction.



                                              4
Case 25-14861-MBK             Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                             Desc Main
                                    Document    Page 29 of 107



                  (h)      For a Bid on any Lease asset(s), includes an “Adequate Assurance
                           Package,”3 The Adequate Assurance Package should be submitted in its
                           own compiled PDF document.

         Notwithstanding anything herein to the contrary, any Lease Counterparty bidding on a
         Lease to which it is a party shall not be required to include the items listed in subparagraphs
         D(i)(c), D(i)(e), D(i)(f), D(i)(h), or D(ii) in any bid; provided, however, that, with respect
         to the cash component of such bid, a Lease Counterparty shall be required to include the
         items listed in subparagraphs D(i)(e), D(i)(f).

 ALL QUALIFIED BIDS SHALL BE DEEMED IRREVOCABLE, NOTWITHSTANDING
 ANY CONDITIONS LISTED IN THE ASSUMPTION AND ASSIGNMENT. IN THE
 EVENT THAT A BIDDER SEEKS TO REVOKE SUCH BID, THE DEBTORS SHALL BE
 ENTITLED TO KEEP SUCH BIDDER’S DEPOSIT AND PURSUE ALL OTHER
 CONTRACTUAL REMEDIES UNDER LAW OR EQUITY.

         (ii)     Contemporaneous with the submission of a Bid, tender an earnest money deposit
                  of ten percent (10.0%) of the proposed cash purchase price for the sale of the Lease
                  or Fee Owned Property (as applicable) (the “Qualified Bidder Deposit”) by
                  cashier’s or certified check or wire transfer of immediately available funds, or such
                  other amount agreed to by the Debtors, in consultation with the Consultation
                  Parties, in writing (email being sufficient), which deposit shall be held in an escrow
                  account in accordance with the terms of the Assumption and Assignment
                  Agreement or Purchase Agreement (as applicable); provided that to the extent a
                  Bid contains a non-monetary credit bid, the Qualified Bidder Deposit amount shall
                  be based solely upon the cash portion of the Bid.4 The wire transfer or check memo
                  line must include the following information (the “Deposit Information”): (a) the
                  company name listed on the Bidder Registration Form attached as Exhibit B hereto
                  and (b) the store name, store address, and store number of the store(s) that
                  correspond to the Real Property Asset composing the Bid. If the foregoing
                  information does not fit in the wire transfer or check memo line, the bidder shall
                  send an email to Mike Matlat (mike@agrep.com) with the Deposit Information and
                  the federal reference number. Notwithstanding the foregoing, any Lease


 3
     The Adequate Assurance Package may (but is not required to) include (a) the proposed assignee’s specific name
     (and the name under which the proposed assignee intends to operate the premises), the proposed assignee’s and
     any guarantor’s business plans (which shall disclose the intended use of the leased premises and a description of
     the proposed business to be conducted at the premises), including sales and cash flow projections; (b) a corporate
     organizational chart or similar disclosure identifying ownership and control of the proposed assignee of the Lease;
     (c) audited or unaudited financial statements, tax returns, bank account statements, or annual reports; (d) any
     financial projections, calculations, and/or financing pro formas prepared in contemplation of purchasing each
     Lease; (e) any documents regarding the proposed assignee’s and any guarantor’s experience in operating retail
     stores (including the number of retail stores the proposed assignee and any guarantor operates and the trade names
     used); (f) any additional evidence of the proposed assignee’s financial wherewithal, including available cash and
     any debt or equity commitments or other forms of liquidity post-closing; and (g) any other documentation that
     the Debtors may further request.
 4
     For the avoidance of doubt, these funds are not property of the Debtors.



                                                           5
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                    Desc Main
                                Document    Page 30 of 107



                Counterparty bidder may submit a Bid to acquire the Leases to which it is a
                counterparty without submitting a Qualified Bidder Deposit.

        (iii)   A Qualified Bidder Deposit will be refunded only if (a) the Bid corresponding to
                the Qualified Bidder Deposit is rejected or (b) the Bid corresponding with the
                Qualified Bidder Deposit is not approved by the Court. The Debtors reserve the
                right to hold each Qualified Bidder Deposit until five (5) business days after the
                closing of the sale of the applicable Lease or Fee Owned Property, but the Debtors
                may refund the full Qualified Bidder Deposit any time after the Sale Hearing. The
                provisions of this subparagraph (iii) shall apply to Qualified Bidders and control
                notwithstanding any conflicting provisions in the applicable Assumption and
                Assignment Agreement or Purchase Agreement.

        (iv)    The Qualified Bidder agrees the Adequate Assurance Package may be disseminated
                to the affected Lease Counterparty if such Qualified Bidder’s Bid is determined by
                the Debtors, in consultation with the Consultation Parties, to be a Qualified Bid. If
                the requesting Lease Counterparty has submitted a ROFR Notice (as defined below)
                prior to the Bid Deadline, and the Debtors have confirmed such right of first refusal
                is valid under non-bankruptcy law, the Debtors shall provide the applicable
                Adequate Assurance Package and purchase price to such Lease Counterparty as
                soon as reasonably practicable after the determining the applicable bidder is a
                Qualified Bidder, but in all cases one day prior to the Auction.

        E.      Rejection of “Qualified Bid” Status for Non-Conforming Bids

         The Debtors shall determine, in consultation with the Consultation Parties and counsel to
 any statutory committees appointed in the Debtors’ chapter 11 cases, which Bids qualify as
 Qualified Bids and which Bids shall be rejected as non-confirming Bids. The Debtors shall have
 the right to reject a Bid as non-conforming (i.e., a non-Qualified Bid); provided, however, the
 Debtors shall have the right to inquire or negotiate with any bidder with respect to clarification of
 any Bid.

        F.      Breakup Fee

         Subject to entry of an order by this Court effectuating a sale or transfer (a “Sale Order”),
 the Debtors shall be further authorized, but not obligated, in an exercise of their business judgment
 and in consultation with the Consultation Parties, to (a) select a Qualified Bidder to act as a stalking
 horse bidder (a “Stalking Horse Bidder”) in connection with each Lease and/or Fee Owned
 Property up for Auction and (b) in connection with any staking horse agreement with a Stalking
 Horse Bidder, provide for a breakup fee (the “Breakup Fee”) in an amount not to exceed three
 percent (3.00%) of the proposed purchase price for such asset. The Breakup Fee shall be allocated
 among the Leases and/or Fee Owned Properties included in the Stalking Horse Bidder’s Qualified
 Bid in the same proportion as the allocation of its aggregate purchase price among such assets
 listed on the Stalking Horse Bidder’s Bidder Registration Form. Any Breakup Fee shall be payable
 solely from the proceeds of the sale of such asset. To the extent any Stalking Horse Bidder seeks
 any expense reimbursement, breakup fees, “topping,” termination, or other similar fee or payment
 on account of a Real Property Asset, a Stalking Horse Agreement shall be entered into.


                                                    6
Case 25-14861-MBK        Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                Desc Main
                               Document    Page 31 of 107



        G.      Due Diligence

         Any Qualified Bidder may request diligence from the Debtors, and the Debtors may grant
 or deny the request in their reasonable business judgment and in consultation with the Consultation
 Parties. The Debtors may require such Qualified Bidder to execute a non-disclosure agreement
 prior to providing diligence to such Qualified Bidder.

        H.      Bid Deadline

         The Debtors shall promptly provide to the Consultation Parties and the U.S. Trustee copies
 of all Bids received by the Debtors. All Qualified Bids must be submitted to the Debtors’ advisors
 in accordance with Section D (above), so as to be actually received no later than the applicable
 Bid Deadline. Notwithstanding anything to the contrary in the Auction Procedures, the Debtors
 may, in their business judgment and in consultation with the Consultation Parties, after the
 applicable Bid Deadline, select a Successful Bidder for any of the Real Property Assets without
 holding an Auction for such assets.

        I.      Terms of Auction

         In the event that one or more Qualified Bids are submitted in accordance with these Auction
 Procedures, the Debtors will cause a notice to be filed on the docket of these chapter 11 cases
 indicating that there have been one or more Qualified Bids submitted (a “Notice of Qualified
 Bids”) and may, in consultation with the Consultation Parties, hold an Auction sale of the Leases
 or Fee Owned Properties (as applicable) on the following terms:

        (i)     Time, Date, and Location of Auction; Adjournment of Auction; Appearance
                of Qualified Bidders at Auction. The Auction will take place at the offices of
                Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1825 Avenue of the Americas,
                New York, NY 10019 or by videoconference or such other form of remote
                communication established by the Debtors. The Auction will be conducted on the
                date and time listed in the Auction and Hearing Notice. The Debtors will send
                written notice (email being sufficient) of the date, time, and place of the Auction
                and/or instructions to access the Auction by videoconference or such other form of
                remote communication established by the Debtors, in consultation with the
                Consultation Parties, to the Consultation Parties, the Qualified Bidders, counsel to
                any statutory committees appointed in the Debtors’ chapter 11 cases, the U.S.
                Trustee, and the relevant Lease Counterparties (if any), no later than seven (7)
                calendar days before such Auction, and file a notice of the date, time, and place of
                the Auction and/or instructions to access the Auction by videoconference or such
                other form of remote communication established by the Debtors, in consultation
                with the Consultation Parties, with the Court by no later than seven (7) calendar
                days before such Auction and post such notice on the Debtors’ Case Website:
                https://cases.ra.kroll.com/RiteAid2025. The Debtors, in consultation with the
                Consultation Parties, may modify the date, time, and place of the Auction and/or
                instructions to access the Auction by videoconference or such other form of remote
                communication established by the Debtors, by providing written notice to Qualified




                                                 7
Case 25-14861-MBK      Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                 Desc Main
                             Document    Page 32 of 107



              Bidders and filing a notice with the Court so long as such notice is no later than
              three (3) calendar days before the Auction.

      (ii)    Permitted Attendees at Auction. Unless otherwise ordered or directed by the
              Court, only representatives of the Debtors, any other parties invited specifically by
              the Debtors (in consultation with the Consultation Parties), any Qualified Bidders,
              the Consultation Parties, counsel to any statutory committees appointed in the
              Debtors’ chapter 11 cases, the U.S. Trustee, and the relevant Lease Counterparties
              (if any), and legal counsel and financial advisors for each of the forgoing shall be
              entitled to attend the Auction; provided that only the (i) Lease Counterparties that
              have either submitted a Qualified Bid or affirmatively provide evidence of a right
              of first refusal in writing (the “ROFR Notice”) by the Bid Deadline and (ii) other
              Qualified Bidders that have submitted Qualified Bids by the Bid Deadline shall be
              entitled to bid at the Auction. To the extent an Auction is not conducted by
              videoconference or such other form of remote communication established by the
              Debtors, any permitted attendee may attend the Auction by videoconference or such
              other form of remote communication established by the Debtors; provided that such
              permitted attendee must provide actual notice via email to the Debtors’ advisors
              and counsel to the Debtors, as listed in Section D(i) herein, that it will make such
              an appearance at least one (1) day prior to the Auction.

      (iii)   Auction Bid Submission Procedures. The Auctions will be conducted by the
              Debtors, in consultation with the Consultation Parties, in accordance with the
              following procedures:

              (a)    For a Qualified Bid to be considered and further bid at the Auction, each
                     Qualified Bidder or duly authorized agent must appear in person at the
                     Auction or attend, unless alternative arrangements are agreed upon in
                     advance by the Debtors, in consultation with the Consultation Parties.

              (b)    Only Qualified Bidders shall be entitled to make any subsequent Bids at the
                     Auction.

              (c)    Bidding will commence with the announcement of the highest and best
                     Qualified Bid with respect to each Lease or Fee Owned Property or group
                     thereof, which shall be determined solely by the Debtors, in consultation
                     with the Consultation Parties, in their business judgment. Any Qualified
                     Bidder may then submit successive Bids in minimum increments, which
                     will be determined by the Debtors, in consultation with the Consultation
                     Parties, at each Auction depending on the total dollar value of the assets
                     being sold (the “Minimum Overbid Amount”). The Minimum Overbid
                     Amount may be different with respect to each Lease, Fee Owned Property,
                     or group thereof being auctioned. Any Lease Counterparty that submits a
                     ROFR Notice by the Bid Deadline may submit successive Bids on the
                     applicable Lease(s) without offering any additional consideration, provided
                     that the Debtors have determined such Lease Counterparty’s right of first
                     refusal would be enforceable under nonbankruptcy law.


                                                8
Case 25-14861-MBK      Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                    Desc Main
                             Document    Page 33 of 107



             (d)     If one or more Qualified Bids are received by the Debtors, each such
                     Qualified Bidder shall have the right to improve its respective Bid at the
                     Auction.

             (e)     Each successive Bid submitted by any bidder at the Auction must contain
                     an actual cash purchase price that exceeds the then existing highest Bid by
                     at least the Minimum Overbid Amount.

             (f)     At the commencement of the Auction and in consultation with the
                     Consultation Parties, the Debtors may announce procedural and related
                     rules governing the Auction, including time periods available to all
                     Qualified Bidders to submit successive Bid(s) in an amount equivalent to at
                     least the Minimum Overbid Amount.

      (iv)   No Collusion. Each Qualified Bidder participating at the Auction will be required
             to confirm on the record at the Auction that (a) it has not engaged in any collusion
             with respect to the bidding and (b) its Qualified Bid is a good-faith bona fide offer
             and it intends to consummate the proposed transaction if selected as the Successful
             Bidder.

      (v)    Selection of Successful Bid. The Auction shall continue until there is only one
             Qualified Bid remaining to purchase a certain portion or all of the Lease or Fee
             Owned Properties (as applicable) that the Debtors determine, in consultation with
             the Consultation Parties any statutory committees appointed in these chapter 11
             cases, and subject to Court approval, is the highest and/or best Qualified Bid (such
             Qualified Bid, the “Successful Bid” and, such Qualified Bidder, the “Successful
             Bidder”). For the avoidance of doubt, if there are any Qualified Bids for different
             Leases or Fee Owned Properties (as applicable), there may be multiple Successful
             Bidders. In making this decision, each Debtor may consider the amount of the
             purchase price, the form of consideration being offered, the contents of the
             Assumption and Assignment Agreement, the likelihood of such Qualified Bidder’s
             ability to close the transaction, the timing thereof, and the net benefit to the estates.
             Each Debtor reserves the right to select, in consultation with the Consultation
             Parties and any statutory committees appointed in these chapter 11 cases, the
             Successful Bid, even if it is not the highest Bid; provided that in the event a Stalking
             Horse Bidder is selected by the Debtors and is not the Successful Bidder, the
             aggregate amount of the Successful Bid or Successful Bids (other than credit bids)
             must exceed the amount of the Stalking Horse Bid plus the Breakup Fee payable to
             the Stalking Horse Bidder. The Debtors reserve the right to not select, in
             consultation with the Consultation Parties and any statutory committees appointed
             in these chapter 11 cases, any Successful Bid or Successful Bidder with respect to
             any Lease, Fee Owned Property, or group thereof. The Successful Bidder shall
             have such rights and responsibilities of the purchaser, as set forth in the Assumption
             and Assignment Agreement or Purchase Agreement (as applicable). Prior to the
             Sale Hearing, the Successful Bidder shall complete and execute a final and revised
             Assumption and Assignment Agreement or Purchase Agreement (as applicable), as
             necessary to conform to the terms of the Auction, and all other agreements,


                                                9
Case 25-14861-MBK        Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                 Desc Main
                               Document    Page 34 of 107



                contracts, instruments, and other documents evidencing and containing the terms
                and conditions upon which the Successful Bid was made (such documents
                collectively, the “Successful Bidder Sale Documents”). The Successful Bid shall
                be irrevocable for a period of thirty (30) days after the conclusion of the Auction.

        (vi)    Selection of Backup Bidder. The bidder of the second highest and best Bid for a
                portion or all of the Leases or Fee Owned Properties (as applicable), as determined
                by the Debtors in their discretion and in consultation with the Consultation Parties,
                may be deemed a backup bidder (such bidder the “Backup Bidder” and such Bid
                the “Backup Bid”). For the avoidance of doubt, if there are Qualified Bids for
                different portions of the Leases or Fee Owned Properties (as applicable), there may
                be multiple Backup Bidders. If the Debtors so designate, in consultation with the
                Consultation Parties, a bidder as a Backup Bidder, such Backup Bidder shall be
                required to complete and execute, as applicable, an Assumption and Assignment
                Agreement or Purchase Agreement, in form and substance reasonably acceptable
                to the Debtors memorializing, among other things, the amount of the Backup Bid
                (the “Backup Bidder Agreement”). Upon the failure of the Successful Bidder to
                timely consummate its purchase of the applicable Lease or Fee Owned Property,
                pursuant to the terms of the Successful Bidder Sale Documents, within three (3)
                calendar days of such failure, the Debtors shall file a supplemental notice seeking
                to approve the sale to the Backup Bidder, if applicable, on expedited notice and a
                hearing. The Backup Bidder Agreement shall be irrevocable for a period of thirty
                (30) calendar days after the conclusion of the Auction.

        (vii)   Irrevocability of Bids; Rejection of Bids. A Qualified Bid must be irrevocable
                unless and until the Debtors accept a higher Bid and such Qualified Bidder is not
                selected as the Backup Bidder. Unless determined by the Debtors, in consultation
                with the Consultation Parties, to be the Successful Bid or Backup Bid, all other
                Qualified Bids and all other successive Bids at the Auction shall be deemed rejected
                at the conclusion of the Auction. Notwithstanding the foregoing, all Bids shall be
                deemed rejected on the Closing Deadline; provided, however, in the event the
                Successful Bidder does not close the sale of any given Lease or Fee Owned
                Property (as applicable), and the Debtors (being required to file a supplemental
                notice within three (3) calendar days thereafter) file a supplemental notice on or
                before the Closing Deadline seeking to approve the sale to the Backup Bidder, if
                applicable, on expedited notice and a hearing, such Bids shall remain irrevocable
                until the transaction is approved and closed, or rejected by the Court.

        J.      Sale Hearing

         The Court may hold a Sale Hearing on the date listed in the Auction and Hearing Notice to
 approve the sale of the Leases or Fee Owned Properties (as applicable), if any. The Sale Hearing
 will be held at the United States Bankruptcy Court for the District of New Jersey, or by such other
 virtual or electronic means as determined by the Court. At the Sale Hearing, the Debtors will seek
 entry of an order approving and authorizing the proposed sale to the Successful Bidder(s), if any;
 provided, however, that if no Objection to the sale of a Real Property Asset is filed by the
 applicable Objection Deadline, the Debtors may seek, at any time following the expiration of the


                                                 10
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                  Desc Main
                                Document    Page 35 of 107



 Objection Deadline, entry of an order approving and authorizing the proposed sale to the
 Successful Bidder(s) under a certificate of no objection.

         The Debtors shall also notify the Court of the Backup Bidder, if any. The Debtors shall
 ascertain whether the Successful Bidder and the Backup Bidder are insiders of one or more of the
 Debtors, whether the sale represents an arm’s-length transaction between the parties, made without
 fraud or collusion, and whether there has been any attempt by either party to take any unfair
 advantage of the other such that the Successful Bidder or Backup Bidder may be deemed to be
 purchasing the Leases in good faith pursuant to 11 U.S.C. § 363(m). At the Sale Hearing (if any),
 the Debtors shall seek to make a record of these findings with respect to the Successful Bidder and
 any order approving the sales shall include such findings in order to approve the sale to the
 Successful Bidder(s), pursuant to 11 U.S.C. § 363(m). The Sale Hearing may be adjourned or
 rescheduled by the Debtors, in consultation with the Consultation Parties, without notice other than
 by announcement of the adjourned date at the Sale Hearing or the Debtors’ filing notice of a
 rescheduled Sale Hearing with the Court.

        In the event the Successful Bidder does not close the sale of any given Lease or Fee Owned
 Property (as applicable), and the Debtors determine in their reasonable business judgment, and in
 consultation with the Consultation Parties and counsel to any statutory committees appointed in
 these cases, to effectuate the transaction with the Backup Bidder, the Debtors will file a
 supplemental notice within three (3) calendar days of the prior sale’s closing date, seeking to
 approve the sale to the Backup Bidder. The Backup Bidder (as identified by the Notice of
 Successful and Backup Bidders) shall not be approved at the Sale Hearing.

        K.      Closing

         The closing of the sale of the Leases or Fee Owned Properties (as applicable) will occur no
 later than the Closing Deadline, in accordance with the terms of the Successful Bidder Sale
 Documents or the (a) Assumption and Assignment Agreement of the entity otherwise authorized
 by the Court to purchase such Leases, (b) Purchase Agreement of the entity otherwise authorized
 by the Court to purchase such Fee Owned Properties, or (c) Lease Termination Agreement of the
 Lease Counterparty otherwise authorized by the Court to purchase such Lease, as applicable.

        L.      Failure of Successful Bidder to Consummate Purchase

          If the Successful Bidder fails to consummate the purchase of the Leases or Fee Owned
 Properties (as applicable) pursuant to the terms of the Successful Bidder Sale Documents, and such
 failure is the result of the Successful Bidder’s breach of, or default or failure to perform under any
 Successful Bidder Sale Documents or the terms of these Auction Procedures, including
 cooperating with the Debtors and their advisors to contest any objections to either the assumption
 and assignment of the applicable Lease or the sale of the applicable Fee Owned Property and
 appearing for testimony, as needed, (the “Defaulting Bidder”), such Defaulting Bidder’s Qualified
 Bidder Deposit shall be forfeited to the Debtors as liquidated damages, and the Debtors shall have
 all rights and remedies available under applicable law.




                                                  11
Case 25-14861-MBK        Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                Desc Main
                               Document    Page 36 of 107



        M.      Disclosures

        Qualified Bidders shall disclose to the Debtors all communications with other Qualified
 Bidders following the submission of a Qualified Bid until the sale of the applicable Leases or Fee
 Owned Properties.

        N.      Commissions

         Subject to section E hereof, the Debtors shall be under no obligation to pay commission to
 any agent or broker, with the exception of any agent or broker used by the Debtors. All
 commissions, fees, or expenses for agents, other than as retained by the Debtors, may be paid by
 bidders at such bidder’s discretion. In no case shall any commissions, fees, or expenses be
 deducted from the proceeds of the sale of the Leases or Fee Owned Properties (as applicable), or
 the agreed Successful Bid, subject to section F hereof.

        O.      No Representation; Qualified Bidder’s Duty to Review

         The Debtors are not making and have not at any time made any warranties or
 representations of any kind or character, express or implied, with respect to the Leases or Fee
 Owned Properties, the truth, accuracy, or completeness of any documents related to the Leases or
 Fee Owned Properties, or any other information provided by or on behalf of the Debtors to a
 bidder, or any other matter or thing regarding the Leases or Fee Owned Properties. All bidders
 must acknowledge and agree that upon closing the Debtors shall sell and transfer to the Successful
 Bidder and the Successful Bidder shall accept the Leases or Fee Owned Properties (as applicable)
 “AS-IS, WHERE IS, WITH ALL FAULTS,” except to the extent expressly provided otherwise in
 the Court’s order approving the sale. All bidders must agree that they have not relied on and will
 not rely on, and the Debtors are not liable for or bound by, any express or implied warranties,
 guaranties, statements, representations, or information pertaining to the Leases or Fee Owned
 Properties, or relating thereto made or furnished by the Debtors or any real estate broker or agent
 representing or purporting to represent the Debtors, to whomever made or given, directly or
 indirectly, orally or in writing, unless specifically set forth in the Bankruptcy Court’s order
 approving the sale.

        P.      Reservation of Rights

         The Debtors reserve their rights to modify these Auction Procedures, in their business
 judgment and in consultation with the Consultation Parties, in any manner that will best promote
 the goals of these Auction Procedures, or impose, at or prior to the Auction, additional customary
 terms and conditions on sales, including, without limitation: (i) extending the deadlines set forth
 in these Auction Procedures; (ii) adjourning the Auction or the Sale Hearing; (iii) adding
 procedural rules that are reasonably necessary or advisable under the circumstances for conducting
 the Auction; (iv) canceling the Auction; and (v) rejecting any or all Bids or Qualified Bids.
 Nothing in these Auction Procedures shall abrogate the fiduciary duties of the Debtors. For the
 avoidance of doubt, this paragraph shall not authorize the Debtors to limit notice periods or other
 protections provided to Lease Counterparties in the Order.




                                                 12
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                 Desc Main
                                Document    Page 37 of 107



        Q.      Consent to Jurisdiction

         All Qualified Bidders at the Auction shall be deemed to have (i) consented to the
 jurisdiction of the Court and (ii) waived any right to a jury trial in connection with any disputes
 relating to the Auction, the construction, and enforcement of these Auction Procedures.

        R.      Return of Qualified Bidder Deposit

         The Qualified Bidder Deposit of the Successful Bidder shall be applied to the purchase
 price of any transaction that closes with respect to that Qualified Bidder. The Qualified Bidder
 Deposits for each Qualified Bidder shall be held in one or more escrow accounts on terms
 acceptable to the Debtors and shall be returned (other than with respect to the Successful Bidder
 and the Backup Bidder) on the date that is five (5) business days after the close of the sales, or as
 soon as is reasonably practicable thereafter.

          If a Successful Bidder (or Backup Bidder, as applicable) fails to consummate a proposed
 transaction because of a breach by such Successful Bidder (or Backup Bidder, as applicable) or by
 failing to cooperate to obtain approval of the Bid, the Qualified Bidder Deposit shall be released
 to the Debtors and the Debtors shall not have any obligation to return the Qualified Bidder Deposit
 deposited by such Successful Bidder (or Backup Bidder, as applicable). Such Qualified Bidder
 Deposit released to the Debtors may be retained by the Debtors as liquidated damages, in addition
 to any and all rights, remedies, or causes of action that may be available to the Debtors and their
 estates.

        S.      Fiduciary Out

         Nothing in these Auction Procedures shall require each Debtor’s management or board of
 directors to take any action, or to refrain from taking any action, with respect to these Auction
 Procedures, to the extent each Debtor’s management or board of directors determines, or based on
 the advice of counsel, that taking such action, or refraining from taking such action, as applicable,
 is required to comply with applicable law or its fiduciary obligations under applicable law.




                                                  13
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                          Document    Page 38 of 107



                                  Exhibit A-1

                    Form Assumption and Assignment Agreement
Case 25-14861-MBK        Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                Desc Main
                               Document    Page 39 of 107



                     ASSUMPTION AND ASSIGNMENT AGREEMENT

        This ASSIGNMENT AND ASSUMPTION AGREEMENT (the “Agreement”), dated as
 of _________, 2025, is by and between ______________________________ (“Assignor”) and
 __________________ (“Assignee”).

                                            RECITALS

         WHEREAS, Assignor, along with its affiliated debtors and debtors in possession, has filed
 a voluntary petition for relief pursuant to chapter 11 of Title 11 of the United States Code, 11
 U.S.C. §§ 101 et seq. (as amended, the “Bankruptcy Code”), in the United States Bankruptcy Court
 for the District of New Jersey (the “Bankruptcy Court”); and

        WHEREAS, Assignor has agreed to assign and Assignee has agreed to assume the real
 property lease(s) listed on the attached Schedule A (referred to as the “Lease(s)”) with respect to
 the premises set forth on Schedule A (the “Premises”) pursuant to the terms and conditions of the
 Auction Procedures approved by the Bankruptcy Court in the chapter 11 cases of In re New Rite
 Aid, LLC, et al., Case No. 25-14861 (MBK) (the “Bankruptcy Court Approval”).

        NOW, THEREFORE, in consideration of the premises and the mutual agreements herein
 contained, the parties (“Parties”) hereto agree as follows:

                                          AGREEMENT

       1.      Assignment and Assumption. Effective upon the receipt of Bankruptcy Court
 Approval and payment of the Purchase Price as set forth below:

        (a)    Assignor hereby sells, transfers, conveys, assigns and sets over to Assignee, its
 successors and assigns, all of Assignor’s right, title, and interest in and to the Lease(s).

       (b)     Assignee hereby assumes and undertakes to pay, perform, and discharge all of
 Assignor’s obligations and duties with respect to the Lease(s).

        2.      Payment of Purchase Price. Assignee shall, on or before __________, 2025, deliver
 the purchase price for the Lease(s) in the amount of ____________ (the “Purchase Price”) in
 immediately available funds wired to the account specified by Assignor. Together with the
 Purchase Price, Assignee shall also pay to Assignor the sum of $________ respecting rent and
 other charges paid by Assignor under the Lease for the months in which the Closing (hereinafter
 defined) occurs and any subsequent months. If the assumption and assignment of the Lease(s)
 do(es) not occur by ________, 2025, Assignee will additionally reimburse Assignor for all
 amounts that came due, were required to be paid, and were in fact paid in connection with the
 Lease(s) on and after _________, 2025. The Parties acknowledge that if the assignment and
 assumption of the Lease(s) (the “Closing”) does not occur before _____________, 2025, the
 Lease(s) may thereafter be rejected in the Bankruptcy Court proceeding referenced above.

        3.      Assumption of Liabilities. In addition to assuming all remaining obligations that
 exist with respect to the Lease(s), including, but not limited to, accrued but unbilled adjustments



                                                 2
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                   Desc Main
                                Document    Page 40 of 107



 for CAM, real estate taxes, and insurance, Assignee shall assume and cure all outstanding liabilities
 with respect to the Lease(s).

         4.      No Further Liability of Assignor. From and after Closing, Assignor shall have no
 further obligations and duties with respect to the Lease(s).

         5.      Further Assurances. At any time and from time to time after the date hereof, at the
 request of Assignee, and without further consideration, Assignor shall execute and deliver such
 other instruments of sale, transfer, conveyance, assignment, and confirmation or consents and take
 such other action as Assignee may reasonably request as necessary or desirable in order to more
 effectively transfer, convey, and assign to Assignee Assignor’s rights to the Lease(s).

         6.      “As Is Where Is” Transaction. Assignee hereby acknowledges and agrees that
 Assignor makes no representations or warranties whatsoever, express or implied, with respect to
 any matter relating to the Lease(s). Without limiting the foregoing, Assignor hereby disclaims any
 warranty (express or implied) of merchantability or fitness for any premises subject to the Lease(s).
 Assignee further acknowledges that the Assignee has conducted an independent inspection and
 investigation of the physical condition of premises subject to the Lease(s) and all such other
 matters relating to or affecting the Lease(s) as Assignee deemed necessary or appropriate and that
 in proceeding with its acquisition of the Lease(s), Assignee is doing so based upon such
 independent inspections and investigations. Accordingly, Assignee will accept the Lease(s) “AS
 IS” and “WHERE IS.”

         7.    Compliance With Law. Assignee hereby agrees to comply with all applicable laws.
 Assignee agrees to indemnify and hold Assignor harmless for any violation or alleged violation of
 this section.

        8.      Governing Law. This Agreement shall be governed by and construed in accordance
 with the laws of the State of New York without regard to principles of conflicts of law.

         9.       Jurisdiction. The Parties consent to the exclusive jurisdiction of the United States
 Bankruptcy Court for the District of New Jersey with respect to all matters arising under or relating
 to this Agreement. The Parties hereby irrevocably waive any objection on the grounds of venue,
 forum non conveniens, or any similar grounds and irrevocably consent to service of process by
 mail or in any other manner permitted by applicable law. The Parties further hereby waive any
 right to a trial by jury with respect to any lawsuit or judicial proceeding arising or relating to this
 Agreement.

         10.     No Reliance. Each Party represents and warrants that in entering into this
 Agreement it is relying on its own judgment, belief and knowledge and, as applicable, on that of
 any attorney it has retained to represent it in this matter. In entering into this Agreement, no Party
 is relying on any representation or statement made by any other Party or any person representing
 such other Party.

        11.      Construction. This Agreement has been drafted through a cooperative effort of
 both Parties, and neither Party shall be considered the drafter of this Agreement so as to give rise
 to any presumption of convention regarding construction of this document. All terms of this
 Agreement were negotiated in good faith and at arm’s-length, and this Agreement was prepared


                                                   3
Case 25-14861-MBK        Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                Desc Main
                               Document    Page 41 of 107



 and executed without fraud, duress, undue influence, or coercion of any kind exerted by any of the
 Parties upon the other. The execution and delivery of this Agreement is the free and voluntary act
 of the Parties.

         12.     Execution in Counterparts. This Agreement may be executed in one or more
 counterparts, each of which shall be deemed an original, but all of which together shall constitute
 one and the same instrument. All signatures of the Parties to this Agreement may be transmitted
 by facsimile or by electronic mail, and such transmission will, for all purposes, be deemed to be
 the original signature of such Party whose signature it reproduces, and will be binding upon such
 Party.

         IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date
 first above written.



                              [Signatures appear on following page]




                                                 4
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                          Document    Page 42 of 107



                                    ASSIGNOR:
                                    [DEBTOR-ASSIGNOR]


                                    By:
                                    Name:
                                    Its:


                                    ASSIGNEE:
                                    [ASSIGNEE]


                                    By:
                                    Name:
                                    Its:




                                      5
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                          Document    Page 43 of 107



                                  Exhibit A-2

                         Form Asset Purchase Agreement




                                       6
Case 25-14861-MBK              Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                    Desc Main
                                     Document    Page 44 of 107


                                    PURCHASE AND SALE AGREEMENT

          THIS PURCHASE AND SALE AGREEMENT (this “Agreement”) is executed as of the [●] day
 of [●], 2025 (the “Effective Date”), by and between [●], a [●] (“Seller”) and [●], a [●] (“Purchaser”).

                                                  RECITALS

         WHEREAS, on May 5, 2025, the above-captioned debtors and debtors in possession (collectively,
 the “Debtors”) filed voluntary petitions for relief under chapter 11 of title 11 of the United States Code, 11
 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), in the United States Bankruptcy Court for the District of
 New Jersey (the “Bankruptcy Court”);

          WHEREAS, the Debtors seek to cause Seller to sell the Property (defined below) pursuant to the
 terms and conditions of this Agreement and subject to approval by the Bankruptcy Court in the chapter 11
 cases of In re New Rite Aid, LLC, et al., Case No. 25-14861 (MBK) (Bankr. D.N.J. 2025) (the “Bankruptcy
 Cases”);

          WHEREAS, Seller believes that the Property should be sold through an orderly sale process as
 part of the Bankruptcy Cases;

         WHEREAS, Seller is willing to sell the Property to Purchaser, and Purchaser is willing to purchase
 the Property from Seller; and

         NOW, THEREFORE, in consideration of the mutual covenants, agreements, and conditions
 stated herein, the sufficiency of which is hereby acknowledged by the parties hereto, Seller and Purchaser
 hereby agree as follows:

                                                 AGREEMENT

 1.       Sale of Property. On the terms and conditions set forth in this Agreement, Seller agrees to sell,
 assign, convey and transfer to Purchaser, and Purchaser agrees to purchase from Seller, all rights, title and
 interests held by Seller in and to the real property specifically described on Annex I attached hereto and
 incorporated herein by this reference (the “Real Property”), together with all buildings, facilities and other
 improvements located thereon (collectively, the “Improvements”) and all easements, licenses, rights and
 appurtenances relating to any of the foregoing (collectively, with the Real Property and the Improvements,
 the “Property”).

 2.         Purchase Price.

         A.      Seller is to sell and Purchaser is to purchase the Property for a total of [●] Dollars ($[●])
 (the “Purchase Price”).

         B.        The Purchase Price for the Property (exclusive of closing adjustments and costs provided
 for herein) shall be paid in the following manner:

                     (i)    A deposit in the amount of [●] Dollars ($[●])5 (the “Deposit”) shall be delivered
            to [●] (the “Escrow Agent”) on the Effective Date, in immediately available funds, which such



 5
     Note to Draft: 10% of the Purchase Price.

                                                       7
Case 25-14861-MBK           Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                         Desc Main
                                  Document    Page 45 of 107


         Deposit shall be non-refundable to Purchaser except as otherwise expressly set forth in this
         Agreement;

                 (ii)    The balance of the Purchase Price, exclusive of closing adjustments and costs
         (the “Balance”), is due at the closing of the transaction contemplated hereunder (the “Closing”) and
         shall be delivered to Escrow Agent no later than 11:00 am Eastern Time on the Closing Date
         (defined below), in immediately available funds.

          C.       The acceptance by Purchaser of the delivery of the quit claim deed (the “Deed”) at Closing
 shall be deemed to be full performance and discharge of every agreement and obligation (either express or
 implied) on the part of Seller to be performed pursuant to this Agreement and no representation, warranty
 or agreement, express or implied, of Seller shall survive the Closing except those which are herein
 specifically stated to survive the Closing.

 3.      Purchaser Financing. Purchaser assumes full responsibility to obtain the funds required for
 settlement, and Purchaser’s acquisition of such funds (including any financing proceeds) shall not be a
 contingency to the Closing or Purchaser’s obligations hereunder.

 4.      No Investigations/Due Diligence Period.

         A.      Purchaser acknowledges that there is no “due diligence period” or “due diligence
 termination right” in this Agreement and Purchaser does not have the right to terminate this Agreement
 based on the results of such inspections or for any other reason.

          B.      Purchaser acknowledges that, subject to Section 34 of this Agreement, Seller has delivered
 to Purchaser, or has otherwise made available to Purchaser, certain due diligence materials (the “Due
 Diligence Materials”), in each case, to the extent in Seller’s reasonable possession. Seller will have no
 obligation to deliver or disclose to Purchaser any of Seller’s attorney-client privileged materials, appraisals,
 internal memoranda, or internal evaluations of the Property, or any materials that are confidential and
 proprietary. Except as may be otherwise expressly set forth in this Agreement and the Closing documents,
 Seller makes no representations or warranties of any kind regarding the accuracy, thoroughness, or
 completeness of, or conclusions drawn in the information contained in, any Due Diligence Materials and
 Purchaser is relying on the same at its own risk and without recourse to Seller.

 5.      Intentionally Omitted.

 6.       Bankruptcy Court Approval and Sale Order. The parties’ obligations set forth in this Agreement
 are expressly subject to approval by the Bankruptcy Court (the “Bankruptcy Court Approval”) pursuant to
 an order (the “Sale Order”) approving the sale to Purchaser. The Sale Order shall include factual findings
 and ordering provisions that provide that (i) title to the Property shall be transferred to Purchaser free and
 clear of all liens, claims, encumbrances and interests pursuant to section 363(f) of the Bankruptcy Code,
 with all such liens, claims, encumbrances and interests to attach to the proceeds of the sale in the same
 order, priority and validity that presently exists; provided, however, that the Property shall be transferred
 subject to all easements, right of ways, leases (recorded or unrecorded), covenants, restrictions and all other
 exceptions of record; (ii) Purchaser is purchasing the Property in “good faith” within the meaning of section
 363(m) of the Bankruptcy Code and, as such, is entitled to the protections offered thereby; (iii) this
 Agreement was negotiated, proposed, and entered into by the parties without collusion, in good faith and
 at an arms’-length bargaining position; and (iv) the stay provided under Rule 6004(h) of the Federal Rules
 of Bankruptcy Procedure shall be waived to the extent necessary to permit a Closing to occur as soon as
 possible after entry of the Sale Order.


                                                        8
Case 25-14861-MBK            Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                          Desc Main
                                   Document    Page 46 of 107


 7.      Reservation of Rights. Seller reserves all rights to terminate this Agreement at any time prior to
 the Closing, by written notice from Seller to Purchaser, including, but not limited to, terminating this
 Agreement if Seller or the board of directors (or similar governing body) of Seller determines that
 proceeding with the sale(s) or failing to terminate this Agreement would be inconsistent with its or such
 person’s or body’s fiduciary duties. Upon the termination of this Agreement by Seller pursuant to this
 Section 7, Escrow Agent shall return the Deposit to Purchaser.

 8.      Representations of Purchaser. Purchaser covenants, represents, and warrants to Seller that, as of
 the Effective Date and as of the Closing Date:

          A.     The proposed sale transaction contemplated by this Agreement represents an arms’-length
 transaction between the parties, made without fraud or collusion with any other person; and

         B.       There has been no attempt to take any unfair advantage of Seller.

 9.      Closing Deliveries.

          A.       On or before 11:00 am Eastern Time on the Closing Date, Seller shall deliver to the Escrow
 Agent each of the following, executed and acknowledged, as appropriate, to be delivered to, or pursuant to
 the direction of, Purchaser upon Closing: (i) the Sale Order in recordable form, (ii) the Deed (in proper
 statutory form for recording) so as to transfer all of its right, title and interest in and to the Property in the
 form attached hereto as Annex II, (iii) Seller’s signature to a closing statement prepared by Escrow Agent,
 and (iv) such other documents reasonably required to effect a transfer of the Property under applicable state
 law. Notwithstanding anything to the contrary contained herein, Seller shall not be required to execute or
 deliver any title affidavit or indemnity.

          B.       On or before 11:00 am Eastern Time on the Closing Date, Purchaser shall deliver to Escrow
 Agent each of the following, executed and acknowledged, as appropriate, to be delivered to, or pursuant to
 the direction of, Seller (with the Deposit) upon Closing: (i) the full Purchase Price (less the Deposit), plus
 or minus if then calculated the adjustments or prorations required by this Agreement, (ii) Purchaser’s
 signature to the closing statement, and (iii) such other documents reasonably required to effect a transfer of
 the Property under applicable state law.

 10.      Closing Date and Office. The Closing shall take place not later than five (5) days after the entry of
 the Sale Order or such other date mutually agreed upon by Purchaser and Seller (the “Closing Date”) and
 shall occur through a deed and money escrow agreement with Escrow Agent pursuant to which, on the
 Closing Date, Escrow Agent shall be responsible for (x) preparation of the closing statement, (y) collection
 and disbursement of all closing documents, and (z) collection and disbursement of the funds.
 Notwithstanding anything in this Agreement to the contrary, in the event the Bankruptcy Court has not
 entered the Sale Order on or prior to [●], 2025, Seller, upon notice to Purchaser, may elect to terminate this
 Agreement, with no consequences to Seller and/or the Purchaser’s bankruptcy estate. In the event of such
 termination, Escrow Agent shall return the Deposit to Purchaser and neither party shall have any further
 obligation hereunder (other than the Surviving Obligations (defined below)). In the event the Bankruptcy
 Court rejects Purchaser’s offer as set forth herein, the rights and remedies of the parties shall be as set forth
 in the Sale Order. The parties acknowledge that Escrow Agent is acting solely as a stakeholder at their
 request and for their convenience, that Escrow Agent shall not be deemed to be the agent of either of the
 parties, and that Escrow Agent shall not be liable to either of the parties for any action or omission on its
 part taken or made in good faith, and not in disregard of this Agreement, but shall be liable for its negligent
 acts and for any liabilities (including reasonable attorneys’ fees, expenses and disbursements) incurred by
 Seller or Purchaser resulting from Escrow Agent’s mistake of law respecting Escrow Agent’s scope or
 nature of its duties, negligence or breach of this Agreement. Seller and Purchaser shall severally, on a 50/50

                                                         9
Case 25-14861-MBK           Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                        Desc Main
                                  Document    Page 47 of 107


 basis, indemnify and hold Escrow Agent harmless from and against all liabilities (including reasonable out-
 of-pocket attorneys’ fees, expenses and disbursements) actually incurred in connection with the
 performance of Escrow Agent’s duties hereunder, except with respect to actions or omissions taken or made
 by Escrow Agent in bad faith, in breach of this Agreement or involving negligence on the part of Escrow
 Agent. Escrow Agent has executed this Agreement in the place indicated on the signature page hereof in
 order to confirm that Escrow Agent shall hold the Deposit and closing documents in escrow and shall
 disburse the Deposit and closing documents pursuant to this Agreement.

 11.     Permitted Exceptions.

         A.       At Closing, Seller shall convey title to the Property, subject to the following (collectively,
 the “Permitted Exceptions,” and the condition of the title subject only to the Permitted Exceptions is
 referred to herein as “Acceptable Title”):

                 (i)     All matters (A) shown in any title commitment, title pro forma, title policy and/or
         survey obtained by Purchaser or delivered by Seller to Purchaser, (B) shown in the public records
         where the Property is located, (C) which would be shown in a current and accurate title
         commitment, title report and/or survey of the Property, or (D) which would be disclosed by a
         physical inspection of the Property;

                  (ii)    The leases and property contracts and all matters reflecting the existence or terms
         of the leases or property contracts, including non-disturbance agreements, notices (or short forms)
         of leases or property contracts and financing statements pertaining to any tenant’s property;

                 (iii)   Applicable zoning, governmental, subdivision, building and other land use laws,
         regulations and ordinances;

                  (iv)    Any lien created, permitted or suffered by any tenant;

                 (v)      The lien of real estate taxes and assessments not yet due and payable, subject to
         proration or adjustment as provided in this Agreement;

                 (vi)     Any installation, service, connection, usage or maintenance charge for sewer,
         water, electricity, telephone, cable or internet service, and any charges due under any reciprocal
         easement agreement, declarations of covenants, conditions, restrictions, common area agreement,
         shared maintenance agreement, or similar agreements which burden or benefit the Property, in each
         case subject to adjustment or proration as provided in this Agreement;

               (vii)     All standard pre-printed exceptions and provisions contained in any title
         commitment, title pro forma or title policy obtained by Purchaser;

                 (viii) All matters affecting title to the Property of which Purchaser has knowledge as of
         the Closing Date;

               (ix)     Any defects in or objections to title to the Property, or title exceptions or
         encumbrances, arising by, through or under Purchaser or its consultants or agents; and

                (x)       All matters shown on any existing owner’s policy of title insurance provided to
         Purchaser.



                                                       10
Case 25-14861-MBK             Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                            Desc Main
                                    Document    Page 48 of 107


          B.      Must-Cure Items. Notwithstanding the foregoing, as a condition to Closing, Seller shall
 be obligated to (i) cause any mortgages, deeds of trust, tax liens, or judgements granted by Seller on the
 Property evidencing indebtedness to be satisfied and/or removed of record, and (ii) cause any mechanics’
 liens or materialmans’ liens encumbering the Property for work performed at the Property and ordered by
 Seller to be satisfied and/or removed of record (or bonded over) so that such liens do not appear as
 exceptions to Purchaser’s title policy (collectively, “Must-Cure Items”).

 12.      Title Policy. Purchaser shall accept title subject to the Permitted Exceptions. If Purchaser desires
 to purchase title insurance, Purchaser may do so, at Purchaser’s discretion and at its sole cost and expense.
 Seller shall not be obligated to cause the title company to omit any Permitted Exception, including, but not
 limited to, the satisfaction of any exception to title relating to the filing of Seller’s federal or state tax return.
 Purchaser shall not have the right to terminate this Agreement if Seller is able to provide Acceptable Title.

 13.      Survey. Purchaser may order a survey of the Property, at its sole cost and expense.

 14.      Condemnation; Casualty.

          A.      In the event that, after the Effective Date but prior to the Closing, all or any material
 portions of the Property, any interests therein, or any rights appurtenant thereto are taken or appropriated
 (either permanently or for temporary periods) under the power of eminent domain or condemnation by any
 authority having such power, or by virtue of any actions or proceedings in lieu thereof, or if any notice or
 threat of such taking or appropriation has been given or is pending at the Closing Date that would result in
 the reduction of value in such Property by more than ten percent (10%) of the Purchase Price, Purchaser
 may elect to terminate this Agreement by providing written notice of such termination to Seller and Escrow
 Agent within seven (7) business days after Purchaser’s receipt of notice of such condemnation, taking or
 damage, and upon receipt of such written notice, Purchaser and Seller shall direct Escrow Agent to return
 the Deposit to Purchaser and neither party shall have any further obligation hereunder (other than the
 Surviving Obligations), or (b) elect to proceed with Closing, in which event the Purchase Price shall be
 reduced by an amount equal to any sums actually received by Seller from the condemning authority by
 reason of such taking, appropriation or action or proceeding in lieu thereof.

          B.      In the event the Property is damaged in any material respect after the Effective Date but
 prior to the Closing Date and such damage was not caused by Purchaser, any consultant, any of their
 respective employees or agents, or any inspection and there is no insurance to cover the loss, if the cost to
 repair such casualty would exceed ten percent (10%) of the Purchase Price, either Purchaser or Seller can
 elect to terminate this Agreement by delivering written notice to the other party and Escrow Agent within
 seven (7) business days after such damage occurs. In such an event, the Purchaser and Seller shall direct
 Escrow Agent to return the Deposit to Purchaser and neither party shall have any further obligation
 hereunder (other than the Surviving Obligations). In the event the Property is damaged prior to Closing
 and such damage was not caused by Purchaser, any consultant, any of their respective employees or agents,
 or any inspection, and there is insurance to cover the loss, then Purchaser shall have no right to terminate
 this Agreement and shall proceed with Closing in which event the Purchase Price shall be reduced by all
 insurance proceeds payable in respect of such damage collected by Seller before the Closing Date and Seller
 shall assign to Purchaser all of Seller’s rights, title and interest in and to all such insurance proceeds not
 collected by Seller before Closing Date.

 15.     Acceptance of State and Municipal Department Violations and Orders. Purchaser accepts the
 Property subject to all notes or notices of violations, known or unknown, of law or municipal ordinances,
 orders or requirements noted in or issued by any governmental department having authority as to lands,
 housing, buildings, fire and health and labor conditions affecting the Property.


                                                          11
Case 25-14861-MBK             Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                        Desc Main
                                    Document    Page 49 of 107


 16.     Closing Adjustments and Costs.

          A.      Purchaser shall pay the cost of all (i) sales, use, gross receipts, documentary stamps,
 recordation taxes, transfer taxes and any other similar tax related to the conveyance of title to Property, (ii)
 title searches, title commitments, title policies (including any fees, premiums and costs relating to
 procurement of any title commitments, title policies and any requested endorsements) requested by
 Purchaser, (iii) survey(s) (and any updates thereto) ordered by Purchaser, (iv) investigations (including,
 without limitations, Purchaser’s investigations) conducted by or on behalf of Purchaser, (v) closing costs
 and any fees payable to the Escrow Agent or any title company, (vi) any fees or expenses payable for the
 assignment, transfer or conveyance of any property contracts, permits, plans and specifications and
 warranties to Purchaser, (vii) any mortgage tax, title insurance fees and expenses for any loan title insurance
 policies, recording charges or other amounts payable in connection with any financing obtained by
 Purchaser, and (viii) the fees and expenses of Purchaser’s own attorneys, accountants, consultants and
 advisors.

         B.      If, at the time of Closing, the Property is affected by an assessment which is or may become
 payable in annual installments, and the first installment is then a lien, or has been paid, then for the purposes
 of this Agreement all the unpaid installments shall be payable by Purchaser when each installment as to
 such assessment is due and payable after the Closing.

          C.       Each of the following items are to be apportioned as of midnight the day before the Closing
 Date: (i) real estate taxes on the basis of the fiscal period for which assessed; (ii) special assessment liens
 in accordance with the preceding paragraph; (iii) utilities; (iv) water and sewer charges; and (v) any other
 charges customarily prorated in similar transactions. If Closing shall occur before a new tax rate is fixed,
 the apportionment of taxes shall be upon the basis of the old tax rate for the preceding period applied to the
 latest assessed valuation.

 17.      Use of Purchase Price to Pay Certain Encumbrances. If there are any Must-Cure Items which Seller
 is obligated to pay and discharge at Closing pursuant to this Agreement, Seller may, to the extent permitted
 by the Sale Order, use any portion of the Balance of the Purchase Price to discharge same. As an alternative,
 Seller may, to the extent permitted by the Sale Order, deposit money with the title company, if any, in such
 amount as reasonably required by such title company to assure its discharge. Upon request made within a
 reasonable time before Closing, Purchaser agrees to provide separate certified checks to assist in clearing
 up these matters.

 18.     Events of Default.

         A.       Purchaser shall be in default under this Agreement if Purchaser (A) fails to timely deliver
 the Deposit, (B) fails to pay the Balance to Escrow Agent on or before the Closing Date, or (C) fails to pay,
 perform or observe any of Purchaser’s other representations, warranties or obligations hereunder (each of
 the foregoing, a “Purchaser Default”).

        B.       If, prior to Closing (x) a Purchaser Default occurs, or (y) Seller materially defaults in its
 covenants or obligations under this Agreement (such default, a “Seller Default”), then the non-defaulting
 party may elect to either (i) waive the event of default and proceed to Closing, or (ii) terminate this
 Agreement by delivering written notice of such termination to the defaulting party and Escrow Agent, in
 which event this Agreement shall be of no further force or effect (other than the Surviving Obligations).




                                                        12
Case 25-14861-MBK           Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                         Desc Main
                                  Document    Page 50 of 107


                 Further:

                 (i)      if Purchaser terminates this Agreement as a result of a Seller Default, then, as
         Purchaser’s sole and exclusive remedy, Purchaser and Seller shall direct Escrow Agent to return
         the Deposit to Purchaser and Seller shall be released from any and all liability hereunder. Purchaser
         expressly waives its right to seek damages in the event of a Seller Default; and

                  (ii)   if Seller terminates this Agreement as a result of a Purchaser Default, then all
         payments made hereunder shall be forfeited to and retained by Seller and Escrow Agent shall
         deliver the Deposit to Seller and Seller shall be entitled to the retention of the Deposit as liquidated
         damages and not a penalty. SELLER AND PURCHASER ACKNOWLEDGE THAT SELLER’S
         DAMAGES WOULD BE DIFFICULT TO DETERMINE, AND THAT THE DEPOSIT IS A
         REASONABLE ESTIMATE OF SELLER’S DAMAGES RESULTING FROM A DEFAULT BY
         PURCHASER IN ITS OBLIGATION TO PURCHASE THE PROPERTY. SELLER AND
         PURCHASER FURTHER AGREE THAT THIS SECTION 18 IS INTENDED TO AND DOES
         LIQUIDATE THE AMOUNT OF DAMAGES DUE TO SELLER, AND SHALL BE SELLER’S
         EXCLUSIVE REMEDY AGAINST PURCHASER, BOTH AT LAW AND IN EQUITY,
         ARISING FROM OR RELATED TO A BREACH BY PURCHASER OF ITS OBLIGATION TO
         CONSUMMATE THE TRANSACTIONS CONTEMPLATED BY THIS AGREEMENT,
         OTHER THAN WITH RESPECT TO PURCHASER’S INDEMNITY AND
         CONFIDENTIALITY OBLIGATIONS HEREUNDER.

       C.    SELLER AND PURCHASER FURTHER AGREE THAT THIS SECTION 18 IS
 INTENDED TO AND DOES LIMIT THE AMOUNT OF DAMAGES DUE TO PURCHASER AND THE
 REMEDIES AVAILABLE TO PURCHASER, AND SHALL BE PURCHASER’S SOLE AND
 EXCLUSIVE REMEDY AGAINST SELLER, BOTH AT LAW AND IN EQUITY ARISING FROM OR
 RELATED TO SELLER DEFAULT. UNDER NO CIRCUMSTANCES MAY PURCHASER SEEK OR
 BE ENTITLED TO RECOVER ANY SPECIAL, CONSEQUENTIAL, PUNITIVE, SPECULATIVE OR
 INDIRECT DAMAGES, ALL OF WHICH PURCHASER SPECIFICALLY WAIVES, FROM SELLER
 FOR ANY SELLER DEFAULT. PURCHASER SPECIFICALLY WAIVES THE RIGHT TO FILE ANY
 LIS PENDENS OR ANY LIEN AGAINST THE PROPERTY.

          D.       If Purchaser breaches this Agreement and Seller institutes a judicial action to enforce its
 rights or obtain remedies hereunder, Purchaser shall pay to Seller the reasonable attorneys’ fees, court costs
 and expenses incurred by Seller.

 19.     No Representation; Purchaser’s Duty to Review.

 IT IS UNDERSTOOD AND AGREED THAT SELLER IS NOT MAKING AND HAS NOT
 AT ANY TIME MADE ANY WARRANTIES OR REPRESENTATIONS OF ANY KIND
 OR CHARACTER, EXPRESS OR IMPLIED, WITH RESPECT TO THE PROPERTY
 INCLUDING, BUT NOT LIMITED TO, ANY WARRANTIES OR REPRESENTATIONS
 AS TO HABITABILITY, MERCHANTABILITY, FITNESS FOR A PARTICULAR
 PURPOSE, TITLE, ZONING, TAX CONSEQUENCES, LATENT OR PATENT
 PHYSICAL OR ENVIRONMENTAL CONDITION, UTILITIES, OPERATING
 HISTORY OR PROJECTIONS, VALUATION, GOVERNMENTAL APPROVALS, THE
 COMPLIANCE OF THE PROPERTY WITH GOVERNMENTAL LAWS (INCLUDING,
 WITHOUT LIMITATION, ACCESSIBILITY FOR HANDICAPPED PERSONS), THE
 TRUTH, ACCURACY OR COMPLETENESS OF ANY PROPERTY DOCUMENTS OR
 ANY OTHER INFORMATION PROVIDED BY OR ON BEHALF OF SELLER TO

                                                       13
Case 25-14861-MBK           Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                        Desc Main
                                  Document    Page 51 of 107



 PURCHASER, OR ANY OTHER MATTER OR THING REGARDING THE PROPERTY.
 PURCHASER ACKNOWLEDGES AND AGREES THAT UPON CLOSING SELLER
 SHALL SELL AND TRANSFER TO PURCHASER AND PURCHASER SHALL ACCEPT
 THE PROPERTY “AS IS, WHERE IS, WITH ALL FAULTS,” EXCEPT TO THE
 EXTENT EXPRESSLY PROVIDED OTHERWISE IN THIS AGREEMENT.
 PURCHASER HAS NOT RELIED AND WILL NOT RELY ON, AND SELLER IS NOT
 LIABLE FOR OR BOUND BY, ANY EXPRESS OR IMPLIED WARRANTIES,
 GUARANTIES,    STATEMENTS,   REPRESENTATIONS    OR   INFORMATION
 PERTAINING TO THE PROPERTY OR RELATING THERETO (INCLUDING
 SPECIFICALLY, WITHOUT LIMITATION, PROPERTY INFORMATION PACKAGES
 DISTRIBUTED WITH RESPECT TO THE PROPERTY) MADE OR FURNISHED BY
 THE SELLER OR ANY REAL ESTATE BROKER OR AGENT REPRESENTING OR
 PURPORTING TO REPRESENT SELLER, TO WHOMEVER MADE OR GIVEN,
 DIRECTLY OR INDIRECTLY, ORALLY OR IN WRITING, UNLESS SPECIFICALLY
 SET FORTH IN THIS AGREEMENT. PURCHASER REPRESENTS TO SELLER THAT
 PURCHASER HAS CONDUCTED, OR WILL CONDUCT PRIOR TO CLOSING, SUCH
 INVESTIGATIONS OF THE PROPERTY, INCLUDING, BUT NOT LIMITED TO, THE
 PHYSICAL AND ENVIRONMENTAL CONDITIONS THEREOF, AS PURCHASER
 DEEMS NECESSARY TO SATISFY ITSELF AS TO THE CONDITION OF THE
 PROPERTY AND THE EXISTENCE OR NONEXISTENCE OR CURATIVE ACTION
 TO BE TAKEN WITH RESPECT TO ANY HAZARDOUS OR TOXIC SUBSTANCES ON
 OR DISCHARGED FROM THE PROPERTY, AND WILL RELY SOLELY UPON SAME
 AND NOT UPON ANY INFORMATION PROVIDED BY OR ON BEHALF OF SELLER
 OR ITS AGENTS OR EMPLOYEES WITH RESPECT THERETO, OTHER THAN SUCH
 REPRESENTATIONS, WARRANTIES AND COVENANTS OF SELLER AS ARE
 EXPRESSLY SET FORTH IN THIS AGREEMENT.

 20.      Notices. Any notice pursuant to this Agreement shall be given in writing by (a) personal delivery,
 or (b) reputable overnight delivery service with proof of delivery, or (c) United States mail, postage prepaid,
 registered or certified mail, return receipt requested, or to such other address or to the attention of such
 other person as the addressee shall have designated by written notice sent in accordance herewith, and shall
 be deemed to have been given either at the time of personal delivery, or, in the case of expedited delivery
 service or mail, as of the date of first attempted delivery at the address and in the manner provided herein.
 Unless changed in accordance with the preceding sentence, the addressees for notices given pursuant to this
 Agreement shall be as follows:


                    If to Seller:               New Rite Aid, LLC
                                                200 Newberry Commons
                                                Etters, PA 17319
                                                Attn: Matthew Schroeder
                                                Email: MSchroeder@riteaid.com




                                                       14
Case 25-14861-MBK           Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                        Desc Main
                                  Document    Page 52 of 107


                    With a copy to:             Paul, Weiss, Rifkind, Wharton & Garrison, LLC 1285 Avenue
                                                of the Americas
                                                New York, NY 10019
                                                Attn: Alice Belisle Eaton, Christopher Hopkins, Nick Krislov
                                                Email: aeaton@paulweiss.com, chopkins@paulweiss.com,
                                                nkrislov@paulweiss.com


                    If to Purchaser:            __________________________
                                                Attn: _____________________
                                                __________________________
                                                __________________________



                    With a copy to:             __________________________
                                                Attn: _____________________
                                                __________________________
                                                __________________________


 21.     Additional Provisions.

          A.       This Agreement shall be governed and construed in accordance with the laws of the State
 of New York without regard to conflicts of laws principles. Any action of any kind whatsoever, including
 a counterclaim, cross-claim, or defense, regardless of the legal theory under which any liability or obligation
 may be sought to be imposed, whether sounding in contract or in tort or under statute, or whether at law or
 in equity, or otherwise under any legal or equitable theory, that may be based upon, arising out of, or related
 to this Agreement or the negotiation, execution, or performance of this Agreement and any questions
 concerning the construction, interpretation, validity and enforceability of this Agreement (each,
 an “Agreement Dispute”) brought by Seller and its successors or assigns or Purchaser and its successors or
 assigns will be brought and determined only in the Bankruptcy Court and any federal court to which an
 appeal from the Bankruptcy Court may be validly taken. Seller and Purchaser hereby irrevocably submit
 to the exclusive jurisdiction of the Bankruptcy Court, each for itself and with respect to its property,
 generally and unconditionally, with regard to any Agreement Dispute. Seller and Purchaser each agree not
 to commence any Agreement Dispute except in the Bankruptcy Court and neither Seller nor Purchaser will
 file a motion to dismiss any Agreement Dispute filed in the Bankruptcy Court on any jurisdictional or
 venue-related grounds, including the doctrine of forum non conveniens. Seller and Purchaser irrevocably
 agree that venue would be proper in the Bankruptcy Court, and hereby irrevocably waive any objection that
 the Bankruptcy Court is an improper or inconvenient forum for the resolution of any Agreement Dispute.

          B.      The parties agree that neither this Agreement nor any memorandum hereof shall be
 recorded or filed in any government office charged with the obligation to accept documents for recording
 or filing, and such office is instructed to refuse to accept same for recordation or filing.

 22.     Strict Compliance. Any failure by either party to insist upon strict performance by the other party
 of any of the provisions of this Agreement shall not be deemed a waiver of any of the provisions hereof,
 irrespective of the number of violations or breaches that may occur, and each party, notwithstanding any
 such failure, shall have the right thereafter to insist upon strict performance by the other of any and all of
 the provisions of this Agreement.


                                                       15
Case 25-14861-MBK           Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                      Desc Main
                                  Document    Page 53 of 107


 23.     Waiver of Jury Trial. EXCEPT AS PROHIBITED BY LAW, THE PARTIES SHALL, AND
 THEY HEREBY DO, EXPRESSLY WAIVE TRIAL BY JURY IN ANY LITIGATION ARISING OUT
 OF, CONNECTED WITH, OR RELATING TO THIS AGREEMENT, OR THE RELATIONSHIP
 CREATED HEREBY. With respect to any matter for which a jury trial cannot be waived, the parties agree
 not to assert any such claim as a counterclaim in, nor move to consolidate such claim with, any action or
 proceeding in which a jury trial is waived. The parties submit to the exclusive jurisdiction and venue of the
 Bankruptcy Court with respect to any dispute, claim or issue arising out of this Agreement.

 24.    Entire Agreement. All prior understandings and agreements between Seller and Purchaser are
 merged in this Agreement. It completely expresses their full agreement; neither party is relying upon any
 statements made by anyone else that are not set forth in this Agreement.

 25.   Singular Also Means Plural. Any singular word or term herein shall also be read as in the plural
 whenever the sense of this Agreement may require it.

 26.     Gender. A reference in this Agreement to any one gender, masculine, feminine or neuter, includes
 the other two, and the singular includes the plural, and vice versa, unless the context requires otherwise.

 27.     Certain References. The term “herein,” “hereof” or “hereunder” or similar terms used in this
 Agreement shall refer to this entire Agreement and not to the particular provision in which the term is used.
 Unless otherwise stated, all references herein to paragraphs, subparagraphs or other provisions are
 references to paragraph, subparagraphs or other provisions of this Agreement.

 28.  No Oral Changes. This Agreement cannot be changed or any provision waived orally. ANY
 CHANGES OR ADDITIONAL PROVISIONS OR WAIVERS MUST BE SET FORTH IN A RIDER
 ATTACHED HERETO OR IN A SEPARATE WRITTEN AGREEMENT SIGNED BY THE PARTIES.

 29.     Date of Performance. If any date for performance hereunder falls on a Saturday, Sunday or other
 day which is a federal holiday or holiday under the laws of the state where the Property is located, the date
 for such performance shall be the next succeeding business day.

 30.     Severability. Except as set forth herein, if any clause or provision of this Agreement is held to be
 invalid or unenforceable by any court of competent jurisdiction as against any person or under any
 circumstances, the remainder of this Agreement and the applicability of any such clause or provision to
 other persons or circumstances shall not be affected thereby; provided, however, the parties agree that the
 conditions for Bankruptcy Court Approval and issuance of a Sale Order is a non-negotiable condition
 precedent to the validity and enforcement of this Agreement against the Purchaser. Any other clauses or
 provisions of this Agreement, not found invalid and unenforceable, shall be and remain valid and
 enforceable.

 31.      Counterparts. This Agreement may be executed in multiple counterparts all of which when taken
 together shall constitute an Agreement for the sale of real estate under the laws of the State of New York.
 It is binding upon and inures to the benefit of the parties hereto and their respective heirs, devisees,
 executors, administrators, successors and assigns, and may be canceled, modified or amended only by a
 written instrument executed by both Seller and Purchaser.

 32.     Execution. For the purposes of executing this Agreement, a document signed and transmitted by
 electronic (PDF) mail shall be treated as an original document. The signature of any party thereon shall be
 considered as an original signature, and the document transmitted shall be considered to have the same
 binding legal effect as an original signature on an original document. At the request of either party, any
 electronic (PDF) mail document shall be re-executed by both parties in original form. No party hereto may

                                                      16
Case 25-14861-MBK           Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                        Desc Main
                                  Document    Page 54 of 107


 raise the use of electronic (PDF) mail or the fact that any signature was transmitted through the use of
 electronic (PDF) mail as a defense to the enforcement of this Agreement or any amendment executed in
 compliance with this paragraph. This paragraph does not supersede the requirements of Section 20 hereof.

 33.      Assignment. Purchaser shall not assign this Agreement without the prior written consent of Seller,
 such consent to be given or withheld in Seller’s sole and absolute discretion. Any purported assignment by
 Purchaser in violation of this Agreement shall be voidable at the option of Seller. The refusal of any such
 person to consent to an assignment shall not entitle Purchaser to cancel this Agreement nor give rise to any
 claim for damages against Seller. Any assignment by Purchaser, even if consented to by Seller, shall not
 act to limit, reduce or impact in any way any of Purchaser’s obligations to perform all of its obligations
 under this Agreement including, without limitation, its obligation to pay the Purchase Price.

 34.      Construction of Agreement. This Agreement has been drafted through a cooperative effort of both
 parties, and neither party shall be considered the drafter of this Agreement so as to give rise to any
 presumption of convention regarding construction of this Agreement. All terms of this Agreement were
 negotiated in good faith and at arm’s-length, and this Agreement was prepared and executed without fraud,
 duress, undue influence, or coercion of any kind exerted by any of the parties upon the other. The execution
 and delivery of this Agreement is the free and voluntary act of the parties.

 35.      Confidentiality. All information and material obtained by Purchaser in connection with this
 Agreement, including, without limitation, the Due Diligence Materials (collectively, the “Confidential
 Information”), (a) will be held in strict confidence, and (b) will not be disclosed to any third party without
 Seller’s prior written consent. Notwithstanding the immediately preceding sentence, Purchaser may
 disclose the Confidential Information as required by law or to its respective affiliates, investors, lenders,
 employees, agents, attorneys or consultants who are responsible for determining the feasibility of
 Purchaser’s acquisition of the Property (collectively, the “Permitted Outside Parties”) on the condition that
 such persons maintain the confidentiality of the Confidential Information. In permitting Purchaser and the
 Permitted Outside Parties to review the Confidential Information, Seller has not waived any privilege or
 claim of confidentiality with respect thereto, and no third-party benefits or relationships of any kind, either
 express or implied, have been offered, intended or created. Seller shall have the right to pursue all of its
 rights and remedies available to Seller, at law and/or in equity, as a result of any breach by Purchaser or
 any Permitted Outside Party of this Section 34 and Purchaser shall be responsible to Seller for any breach
 of this Section 34 by Purchaser or any Permitted Outside Party. In the event this Agreement terminates for
 any reason, all Confidential Information shall be returned by Purchaser to Seller (or the destruction thereof
 shall be certified in writing by Purchaser to Seller) as a condition to the return of the Deposit. Purchaser
 shall also promptly notify Seller in writing of requests for Confidential Information from any third party or
 regulatory agency. Notwithstanding anything in the foregoing to the contrary, Purchaser shall not issue any
 press release or otherwise permit any public announcement disclosing the terms of the sale, naming Seller
 or any of its affiliates as having any involvement in the transaction, or otherwise disclosing any Confidential
 Information without Seller’s prior written consent, which consent Seller may withhold in its sole discretion.

 36.      Time of the Essence. It is expressly agreed by the parties hereto that time is of the essence with
 respect to this Agreement and any aspect thereof.

 37.      No Exclusive Negotiations. Seller shall have the right, at all times prior to the Closing, to solicit
 backup offers and enter into discussions, negotiations, or any other communications concerning or related
 to the sale of the Property with any third-party; provided, however, that such communications are subject
 to the terms of this Agreement, and that Seller shall not enter into any binding contract with a third-party
 for the sale of the Property unless such contract is contingent on the termination of this Agreement without
 the Property having been conveyed to Purchaser.


                                                       17
Case 25-14861-MBK           Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                        Desc Main
                                  Document    Page 55 of 107


 38.     Not an Offer. The delivery by Seller of this Agreement shall not constitute an offer to sell the
 Property, and Seller shall have no obligation to sell the Property to Purchaser, unless and until Purchaser
 and Seller have each executed and delivered this Agreement to the other party.

 39.      Survival. Except for the terms of provisions of (i) Sections 15, 18, 19, 23, and 34 and (ii) any other
 provisions in this Agreement that by their express terms survive the Closing (the foregoing (i) and (ii) are
 referred to herein as the “Surviving Obligations”), none of the terms and provisions of this Agreement shall
 survive the Closing or termination of this Agreement, and all of the terms and provisions of this Agreement
 (other than the surviving provisions noted above, which shall survive the Closing) shall be merged into the
 Closing documents and shall not survive the Closing and no party hereto shall have any liability hereunder
 after the Closing in respect of such provisions that do not survive the Closing.
          1.


                                    [Signatures appear on following page]




                                                       18
Case 25-14861-MBK      Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                Desc Main
                             Document    Page 56 of 107


      IN WITNESS HEREOF, the parties hereto have executed this Agreement as of the Effective Date.


                                                   PURCHASER:




                                                   By:

                                                   Printed:

                                                   Title:




                                                   SELLER:




                                                   By:

                                                   Printed:

                                                   Title:




                                              19
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                          Document    Page 57 of 107




 THE UNDERSIGNED HEREBY ACKNOWLEDGES AND AGREES TO BE BOUND BY THE TERMS
 OF THIS AGREEMENT RELATING TO ESCROW AGENT AND THE DEPOSIT.


 ESCROW AGENT:

 FIRST AMERICAN TITLE INSURANCE COMPANY


 By:
 Name:
 Title:

 Date:




                                      20
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                          Document    Page 58 of 107


                                     Annex I

                           Legal Description of Property




                                        1
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                          Document    Page 59 of 107


                                    Annex II

                           [Forms of Closing Documents]




                                        2
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                          Document    Page 60 of 107




                                  Exhibit A-3

                          Lease Termination Agreement
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                   Desc Main
                                Document    Page 61 of 107




                             LEASE TERMINATION AGREEMENT
        This Lease Termination Agreement (the “Agreement”) is made as of this [●] day of [●],
 2025 (the “Effective Date”) between [●] (the “Landlord”) and [●] (the “Tenant” or “Debtor”, and
 together with the Landlord, the “Parties”).

                                             RECITALS

         WHEREAS, Landlord and Tenant entered into that certain lease dated [●] (the “Lease”),
 covering certain premises located at [●] (the “Premises”), on the terms and conditions set forth
 therein;

         WHEREAS, on May 5, 2025, the above-captioned debtors and debtors in possession
 (collectively, the “Debtors”) each filed voluntary petitions for relief under chapter 11 of title 11 of
 the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), in the United States
 Bankruptcy Court for the District of New Jersey (the “Bankruptcy Court”);

         WHEREAS, the Parties desire to enter into this Agreement, for among things, Landlord is
 restored to possession of the Premises as of the Termination Date (as defined below), the Parties
 release each other and Landlord is able to dispose of any remaining furniture, fixtures and
 equipment at the Premises in its sole and absolute discretion;

         NOW, THEREFORE, in consideration of the mutual covenants and agreements contained
 herein, the receipt and sufficiency of which are hereby acknowledged, Landlord and Tenant hereby
 covenant and agree as follows subject only to an order of the Bankruptcy Court approving this
 Agreement (the “Bankruptcy Court Order”):

                                           AGREEMENT

        1.      Recitals. The Recitals are incorporated herein as if set forth at length.

         2.      Lease Termination. Subject to the Bankruptcy Court Order, the Lease is
 terminated effective [●], 2025 (the “Termination Date”).  From and after the Termination Date,
 Tenant shall have no right, title or interest in or to the Premises pursuant to the Lease. Subject to
 the Bankruptcy Court Order, no later than the Termination Date, Tenant shall surrender the
 Premises to Landlord, deliver possession thereof to Landlord and deliver all access codes and keys
 (or written confirmation that Landlord is authorized to change the locks), key codes and alarm
 codes for the Premises (if practically available) to Landlord. Tenant acknowledges and agrees that,
 from and after the Effective Date, (a) Landlord shall have the right to immediately market the
 Premises for lease, and (b) Tenant shall not market the Lease, and shall remove the Lease from
 any further sale process, and shall instruct its representatives, advisors and agents (including A&G
 Realty Partners, LLC) accordingly.

        3.      Consideration. Landlord shall pay to Tenant $[•] (minus any deposits already paid
 to Tenant) and waive all unpaid prepetition and post-petition amounts owed by Tenant to Landlord.

                                                   2
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                   Desc Main
                                Document    Page 62 of 107




         4.      Landlord Release of Tenant. For valuable consideration, and the mutual covenants
 and agreements contained herein, effective from and after the Termination Date, Landlord does
 hereby fully, forever and irrevocably release, discharge and acquit Tenant, and its respective past
 and present affiliates, and the respective past and present officers, directors, shareholders, agents,
 and employees of each and all of the foregoing entities, and its and their respective successors,
 heirs, and assigns, and any other person or entity now, previously, or hereafter affiliated with any
 or all of the foregoing entities (the “Tenant Released Parties”), of and from any and all rights,
 claims, demands, obligations liabilities, indebtedness, breaches of contract, breaches of duty or
 any relationship, acts, omissions, misfeasance, malfeasance, cause or causes of action, debts, sums
 of money, accounts, compensations, contracts, controversies, promises, damages, costs, losses and
 expenses of every type, kind, nature, description or character, and irrespective of how, why, or by
 reason of what facts, whether heretofore or now existing, or that could, might, or may be claimed
 to exist, of whatever kind or name, whether known or unknown, suspected or unsuspected,
 liquidated or unliquidated, claimed or unclaimed, whether based on contract, tort, breach of any
 duty, or other legal or equitable theory of recovery, each as though fully set forth herein at length,
 including, without limitation, any and all claims evidenced by the Lease.

         5.       Tenant Release of Landlord. For valuable consideration, and the mutual covenants
 and agreements contained herein, Tenant does hereby fully, forever and irrevocably release,
 discharge and acquit Landlord, and its respective past and present affiliates, and the respective past
 and present officers, directors, shareholders, agents, property managers, and employees of each
 and all of the foregoing entities, and its and their respective successors, heirs, and assigns, and any
 other person or entity now, previously, or hereafter affiliated with any or all of the foregoing
 entities (the “Landlord Released Parties,” and together with the Tenant Released Parties, the
 “Released Parties”), of and from any and all rights, claims, demands, obligations liabilities,
 indebtedness, breaches of contract, breaches of duty or any relationship, avoidance actions under
 chapter 5 of the Bankruptcy Code, acts, omissions, misfeasance, malfeasance, cause or causes of
 action, debts, sums of money, accounts, compensations, contracts, controversies, promises,
 damages, costs, losses and expenses of every type, kind, nature, description or character, and
 irrespective of how, why, or by reason of what facts, whether heretofore or now existing, or that
 could, might, or may be claimed to exist, of whatever kind or name, whether known or unknown,
 suspected or unsuspected, liquidated or unliquidated, claimed or unclaimed, whether based on
 contract, tort, breach of any duty, or other legal or equitable theory of recovery, each as though
 fully set forth herein at length, including, without limitation, any and all claims evidenced by the
 Lease.

         6.      As further consideration for the releases set forth in sections 4 and 5 hereof, the
 Parties, for themselves and their successors and assigns, hereby agree, represent and warrant that
 the matters released herein are not limited to matters that are known or disclosed, and the Parties
 hereby waive any and all rights and benefits that they now have, or in the future may have,
 conferred upon it by virtue of the provisions of Section 1542 of the Civil Code of the State of
 California (or any other statute or common law principles of similar effect), which Section
 provides as follows:


                                                   3
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                Desc Main
                                Document    Page 63 of 107




      A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR
 DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
 EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE
 MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTORS.

         7.      The Parties agree, represent and warrant that they realize and acknowledge that
 factual matters now unknown to them may have given or may hereafter give rise to causes of
 action, claims, demands, debts, controversies, damages, costs, losses, and expenses that are
 presently unknown, unanticipated, and unsuspected, and the Parties further agree, represent and
 warrant that the releases set forth in sections 4 and 5 hereof have been negotiated and agreed upon
 in light of that realization and that, except as expressly limited above, they nevertheless hereby
 intend to release, discharge, and acquit the Released Parties from any such unknown causes of
 action, claims, demands, debts, controversies, damages, costs, losses, and expenses.

       8.     Conditions Precedent. As a condition precedent to the effectiveness of this
 Agreement, each and all of the following shall have occurred no later than the Termination Date:

        (a)     Tenant has delivered possession of the Premises to Landlord;

        (b)     Tenant has delivered to Landlord the keys and access codes to the Premises (or
 provided written confirmation (email being sufficient) that Landlord is authorized to change the
 locks or access codes); and

         (c)     An order has been entered by the Bankruptcy Court approving the entirety of this
 Agreement.  Tenant shall use commercially reasonable efforts to seek and obtain Bankruptcy
 Court approval of this Agreement on an expedited basis such that the Termination Date shall occur
 no later than [●], 2025.

         9.      Abandonment. Subject to Bankruptcy Court approval, upon the Termination Date,
 any personal property remaining at the premises is deemed abandoned and Landlord is free to
 dispose of or utilize any personal property without further notice or liability to the Tenant or any
 third parties; provided that, the Tenant shall have fourteen (14) days after the Closing Date to
 remove any point-of-sale (“POS”) systems from the Premises during which time the Landlord shall
 not utilize or dispose of any such POS systems and shall use commercially reasonable efforts to
 provide access to the Premises to Tenant to remove any such POS systems.

        10.      Authority to Settle. Each of the Parties respectively represents and warrants that
 each such Party has the absolute and unfettered power, right and authority to enter into this
 Agreement and settle, compromise and release fully and completely all matters and claims
 contemplated to be resolved hereby. Each of the parties to this Agreement respectively represents
 and warrants that each such Party owns and controls each of the claims, causes of action, or other
 matters that are the subject matter of this Agreement and that it has not assigned or transferred to
 any other person any of such claims, causes of action, or other matters.



                                                  4
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                  Desc Main
                                Document    Page 64 of 107




         11.     Entire Agreement. This Agreement, the exhibits hereto and the other items to be
 delivered as a condition precedent to the effectiveness of this Agreement, contains the entire
 agreement and understanding concerning the subject matter of the Agreement supersedes and
 replaces all prior negotiations and proposed settlement agreements, written or oral. Each of the
 Parties respectively represent and warrant that no other Party to this Agreement, nor any agent or
 attorney of any such Party, has made any promise, representation or warranty, express or implied,
 not contained in this Agreement or the exhibits hereto to induce any Party to execute this
 Agreement. Each of the Parties further acknowledge that such Party is not executing this
 Agreement in reliance on any promise, representation or warranty not contained in this Agreement
 or the exhibits hereto.

        12.     Advice of Counsel. Each of the Parties respectively represent and warrant that each
 such Party has (a) been adequately represented, or has had the opportunity to be represented, by
 independent legal counsel of its own choice, throughout all of the negotiations that preceded the
 execution of this Agreement, (b) executed this Agreement with the consent and upon the competent
 advice of such counsel, or that it has had the opportunity to seek such consent and advice, (c) read
 this Agreement, and understands and assents to all the terms and conditions contained in this
 Agreement without any reservations; and (d) had, or has had the opportunity to have had, the same
 explained to it by its own counsel. In entering into this Agreement, no Party is relying on any
 representation or statement made by any other Party or any person representing such other Party.

         13.     Attorneys’ Fees. Each of the Parties agree that in the event a dispute arises as to
 the validity, scope, applicability, or enforceability of this Agreement, the prevailing Party shall be
 entitled to recover its costs and attorneys’ fees.

        14.     Counterparts. This Agreement may be executed in one or more counterparts, each
 of which shall be an original, and all of which shall constitute one and the same document. Further,
 each of the parties to this Agreement agrees that scanned signatures of each Party hereto shall be
 deemed original signatures and shall be binding on each such Party whose signature is by scan to
 the same extent as if it were its original signature.

        15.      Governing Law. This Agreement shall be governed by and construed under the
 laws of the State of [●], without regard to conflicts of laws principles that would require the
 application of the law of another jurisdiction.

        16.      Jurisdiction. The Parties consent to the exclusive jurisdiction of the Bankruptcy
 Court with respect to all matters arising under or relating to this Agreement. The Parties hereby
 irrevocably waive any objection on the grounds of venue, forum non conveniens, or any similar
 grounds and irrevocably consent to service of process by mail or in any other manner permitted by
 applicable law. The Parties further hereby waive any right to a trial by jury with respect to any
 lawsuit or judicial proceeding arising or relating to this Agreement.




                                                   5
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                  Desc Main
                                Document    Page 65 of 107




        17.     Miscellaneous.

        (a)     The headings of the sections of this Agreement are for convenience of reference
 only and shall not affect the meaning or interpretation of this Agreement. This Agreement and its
 terms, provisions, covenants and conditions may not be amended, changed, altered, modified or
 waived except by an express instrument in writing signed by each and all of the Parties hereto.

         (b)    This Agreement and each of its provisions are binding upon and shall inure to the
 benefit of the Tenant’s successors and assigns, including, without limitation, a trustee, if any,
 subsequently appointed under Chapter 7 or 11 of the Bankruptcy Code.

          (c)    Each of the Parties shall take all necessary steps, cooperate, and use reasonable best
 efforts to obtain and achieve the objectives and fulfill the obligations of this Agreement. Each of
 the Parties hereto shall cooperate with each other and shall execute and deliver any and all
 additional notices, papers, documents, and other assurances, and shall do any and all acts and
 things reasonably necessary in connection with the performance of their obligations hereunder and
 to carry out the intent of this Agreement.

        (d)      Each of the Parties shall pay all of its own legal fees, costs, and any other expenses
 incurred or to be incurred in connection with the consummation of this Agreement.

        (e)     Tenant acknowledges and agrees that Landlord shall have no obligation to pay a
 broker commission or any other compensation to any broker or real estate consultant engaged by
 Tenant with respect to this Agreement.

         (f)      The determination of the terms of, and the drafting of, this Agreement has been by
 mutual agreement after negotiation, with consideration by and participation of all Parties hereto
 and their counsel. Because this Agreement was drafted with the participation of all Parties hereto
 and their counsel, the presumption that ambiguities shall be construed against the drafter does not
 apply. Each of the Parties respectively represent and warrant that each such Party was represented
 by competent and effective counsel throughout the course of settlement negotiations and in the
 drafting and execution of this Agreement, and there was no disparity in bargaining power among
 the parties to this Agreement.




                                        [Signature page follows]




                                                   6
Case 25-14861-MBK       Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31           Desc Main
                              Document    Page 66 of 107



         IN WITNESS HEREOF, the Parties have duly executed this Agreement as of the Effective
 Date.


 [LANDLORD]

 By:
 Print Name:
 Its:

 [TENANT]

 By:
 Print Name:
 Its:
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                          Document    Page 67 of 107



                                   Exhibit B

                            Bidder Registration Form




                                       2
Case 25-14861-MBK             Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31               Desc Main
                                    Document    Page 68 of 107



                            OFFER AND BIDDER REGISTRATION FORM

 Bidder, _______________________________________________________________, hereby:

 x        Offers to purchase the following Leases for the Bid set forth below, pursuant to this Offer &
          Qualified Bidder Form and the terms and conditions of the accompanying Assumption and
          Assignment Agreement, and
 x        Seeks to become a Qualified Bidder pursuant to the terms and conditions of the Final Order
          (I) Establishing Procedures for the Sale of Certain Leases and Fee Owned Properties, and (II)
          Granting Related Relief approved by the United States Bankruptcy Court for the District of
          New Jersey in the chapter 11 cases of In re New Rite Aid, LLC, et al., Case No. 25-14861
          (MBK) (the “Auction Procedures”).
 Bidder’s offer is for the following Lease(s) at the following Bids:

                          LEASE                                   BID/PURCHASE PRICE
     1.


     2.


     3.


     4.


     5.


     6.


     7.


     8.


                Aggregate Purchase Price:
Case 25-14861-MBK       Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                  Desc Main
                              Document    Page 69 of 107



 Bidder hereby warrants and represents as follows:

 (a)   Bidder has received, reviewed, understands, and agrees to abide by the terms and
       conditions of the Auction Procedures, the terms and conditions of which are incorporated
       herein by reference.

 (b)   Bidder has received, reviewed, and understands the terms and conditions of the
       Assumption and Assignment Agreement, the terms and conditions of which are
       incorporated herein by reference.

 (c)   To the extent that the words and phrases which are capitalized in this Offer & Qualified
       Bidder Form have been defined in the Auction Procedures or in the Assumption and
       Assignment Agreement, those definitions are incorporated herein by reference.

 (d)   Each Bid made at the Auction shall constitute a binding, irrevocable “Bid” pursuant to the
       Auction Procedures.

 (e)   Each Bid is and shall be a good faith, bona fide, irrevocable offer to purchase the applicable
       Lease on an as-is, where-is basis, with no contingencies.

 (f)   Bidder (i) has relied solely upon its own independent review, investigation, and/or
       inspection of any documents and/or the Lease in making its offer; (ii) did not rely upon any
       written or oral statements, representations, promises, warranties, or guaranties whatsoever,
       whether express or implied (by operation of law or otherwise), regarding the Lease or the
       completeness of any information provided in connection therewith or the Auction other
       than as provided in the Assumption and Assignment Agreement; and (iii) is not entitled to
       any break-up fee, termination fee, expense reimbursement, or similar type of payment; (iv)
       and by submitting an Assumption and Assignment Agreement, waives, and shall be
       deemed to waive, the right to pursue a substantial contribution claim under section 503 of
       title 11 of the United States Code (the “Bankruptcy Code”) related in any way to the
       submission of its Bid, the Auction Procedures, or any earnest money deposit.

 (g)   Bidder is either not represented by a broker seeking a commission, or if Bidder is
       represented by a broker, Bidder (i) exclusively authorizes broker to submit such offer on
       behalf of Bidder and that any commission or fee of any type due and payable to such broker
       as a result of a sale shall be paid solely by Bidder and Bidder shall indemnify the Debtors
       and their agents in this regard, and (ii) acknowledges that it will comply with the Auction
       Procedures.

 (h)   Bidder acknowledges that, pursuant to, inter alia, 18 U.S.C. § 371, it is a federal crime to
       engage in collusive bidding or to chill the bidding.

 (i)   Bidder confirms that it has not engaged, and will not engage, in any collusion with respect
       to the bidding or the sale.

 (j)   Identification of how the Bidder will pay the purchase price at closing.



                                                 2
Case 25-14861-MBK     Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                            Document    Page 70 of 107



 AGREED & ACCEPTED this ____ day of ___________, 2025



 Company:

 By:
 Name:
 Title:


 BIDDER I.D.
 Bidder’s Company:
 Bidder’s Address:
 Bidder’s Contact:
 Bidder’s Phone & Facsimile Numbers:
 Bidder’s Email Address:
 Bidder’s Tax ID Number:


 ATTORNEY OR AUTHORIZED AGENT I.D.
 Attorney or Agent Name:
 Law Firm or Company:
 Address:
 Phone & Facsimile Numbers:
 Email Address:


 BIDDER WIRING INFORMATION FOR DEPOSIT RETURN
 Bidder’s Bank Name:
 Account Name:
 Account Number:
 ABA Number:

                                  Bidder’s Address:




                                           3
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                          Document    Page 71 of 107



                                 Schedule 2-A

                        Lease Auction and Hearing Notice




                                       4
Case 25-14861-MBK             Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                              Desc Main
                                    Document    Page 72 of 107



                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11

 NEW RITE AID, LLC, et al.,                                    Case No. 25-14861 (MBK)

                                     Debtors.1                 (Jointly Administered)




                  NOTICE OF BID DEADLINE, POTENTIAL AUCTION,
             AND POTENTIAL SALE HEARING FOR CERTAIN LEASE ASSETS
         PLEASE TAKE NOTICE that on [_ ], 2025, the United States Bankruptcy Court for the
 District of New Jersey (the “Court”) entered the Final Order (I) Establishing Procedures for the
 Sale of Certain Leases and Fee Owned Properties, and (II) Granting Related Relief [Docket No.
 [__]] (the “Order”)2 in the chapter 11 cases of the above-captioned debtors and debtors in
 possession (collectively, the “Debtors”).

         PLEASE TAKE FURTHER NOTICE that the Debtors are soliciting offers for the sale,
 transfer, or other disposition of certain of the Debtors’ Leases attached hereto as Exhibit A
 (the “Specified Leases”) consistent with the Auction Procedures (the “Auction Procedures”)
 approved by the Court pursuant to the Order. All interested bidders should carefully read the
 Auction Procedures and Order. To the extent that there are any inconsistencies between this
 notice and the Auction Procedures or Order, the Auction Procedures or Order, as applicable, shall
 govern in all respects.

         PLEASE TAKE FURTHER NOTICE that the deadline by which the Debtors may, in
 the exercise of their reasonable business judgment, in consultation with the Consultation Parties,
 choose a stalking horse bidder in connection with the Specified Leases is [●], 2025 at 5:00 p.m.,
 prevailing Eastern Time.

        PLEASE TAKE FURTHER NOTICE that the deadline by which all Qualified Bids for
 the Specified Assets must be received pursuant to the Bidding Procedures is [●], 2025 at 5:00
 p.m., prevailing Eastern Time (the “Bid Deadline”)

          PLEASE TAKE FURTHER NOTICE that, if the Debtors receive qualified competing
 bids within the requirements specified by the Auction Procedures by the Bid Deadline, the Debtors
 will file a notice on the docket in these chapter 11 cases on or about [●], 2025 and conduct an

 1
      The last four digits of Debtor New Rite Aid, LLC’s tax identification number are 1843. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid2025.
      The location of Debtor New Rite Aid, LLC’s principal place of business and the Debtors’ service address in these
      chapter 11 cases is 200 Newberry Commons, Etters, Pennsylvania 17319.
 2
      Capitalized terms used but not defined in this notice have the meanings given to them in the Order.
Case 25-14861-MBK        Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                 Desc Main
                               Document    Page 73 of 107



 Auction of certain of the Specified Leases on or about [●], 2025 at the offices of Paul, Weiss,
 Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, New York 1009, or
 by videoconference or such other form of remote communication established by the Debtors (or at
 any other location, or virtually, as the Debtors may hereafter designate on proper notice).

         PLEASE TAKE FURTHER NOTICE that, except as otherwise determined by the
 Debtors, in consultation with the Consultation Parties, only the Debtors, the applicable Lease
 Counterparties, any Qualified Bidders, the Consultation Parties, the U.S. Trustee, counsel to any
 statutory committees appointed in these cases, and, in each case, the respective representatives and
 professionals of the foregoing parties, shall be entitled to attend the Auction, and only Qualified
 Bidders will be entitled to make Overbids at the Auction. All interested or potentially affected
 parties should carefully read the Auction Procedures and the Order.

        PLEASE TAKE FURTHER NOTICE that, in the event that the Debtors select
 Successful Bidder(s) pursuant to the Auction, the Debtors will file a notice identifying the
 Successful Bidder(s) on or about [●], 2025.

         PLEASE TAKE FURTHER NOTICE that any party that objects to the proposed
 Auction must file a written objection (each, an “Auction Objection”) with the Court and serve such
 Auction Objection so as to be actually received on or before [●], 2025 at 5:00 p.m., prevailing
 Eastern Time, by the following parties (a) proposed co-counsel to the Debtors, (b) counsel to the
 Stalking Horse Bidder, if any, (c) the Auction Notice Parties, (d) counsel to any official committee
 of unsecured creditors appointed in these chapter 11 cases, (e) the applicable Successful Bidder(s)
 and Back-Up Bidder(s), if known, (g) any Lease Counterparty or their known counsel, and (h) any
 other party that has filed a notice of appearance in these chapter 11 cases
 (collectively, the “Objection Notice Parties”).

         PLEASE TAKE FURTHER NOTICE that the Debtors may seek approval of the sale of
 Specified Leases at a hearing scheduled to commence on or before [●], 2025 (the “Sale Hearing”),
 at a time to be determined by the Court, or as soon thereafter as the Debtors may be heard, before
 the Honorable Chief Judge Kaplan, at the United States Bankruptcy Court for the District of New
 Jersey, 402 East State Street, Courtroom 8, Trenton, New Jersey 08608 or by videoconference or
 such other form of remote communication established by the Court.

       PLEASE TAKE FURTHER NOTICE that any party that objects to the proposed sale of
 any Lease must file a written objection (each, a “Sale Objection”) with the Court and serve such
 Sale Objection so as to be actually received on or before [●], 2025 at 5:00 p.m., prevailing
 Eastern Time (the “Sale Objection Deadline”) by (a) the Objection Notice Parties.

          CONSEQUENCES OF FAILING TO TIMELY MAKE AN OBJECTION

      ANY PARTY OR ENTITY WHO FAILS TO TIMELY MAKE AN OBJECTION TO
 THE AUCTION OR SALE, AS APPLICABLE, ON OR BEFORE THE AUCTION
 OBJECTION DEADLINE AND THE SALE OBJECTION DEADLINE, RESPECTIVELY,
 SHALL BE FOREVER BARRED FROM ASSERTING ANY OBJECTION TO THE
 AUCTION OR SALE, AS APPLICABLE, INCLUDING WITH RESPECT TO THE
 TRANSFER OF THE APPLICABLE DEBTORS’ ASSETS FREE AND CLEAR OF ALL


                                                  2
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                  Desc Main
                                Document    Page 74 of 107



 LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS, EXCEPT AS MAY BE
 SET FORTH IN THE APPLICABLE ASSUMPTION ASSIGNMENT AGREEMENT, AS
 APPLICABLE.

         PLEASE TAKE FURTHER NOTICE copies of the Auction Procedures, the Order, as
 well as all related exhibits, are available: (a) upon request to Kroll Restructuring Administration
 LLC (the claims, noticing, and solicitation agent retainer in these chapter 11 cases) by calling (888)
 575-9318 (toll free) or, for international callers, +1 (646) 930-4577; (b) by visiting the Debtors’
 restructuring website at https://restructuring.ra.kroll.com/RiteAid2025; or (c) for a fee via PACER
 by visiting http://www.njd.uscourts.gov.


Dated: [●], 2025
                                                /s/ DRAFT
                                                COLE SCHOTZ P.C.
                                                Michael D. Sirota, Esq.
                                                Warren A. Usatine, Esq.
                                                Felice R. Yudkin, Esq.
                                                Seth Van Aalten, Esq. (admitted pro hac vice)
                                                Court Plaza North, 25 Main Street
                                                Hackensack, New Jersey 07601
                                                Telephone: (201) 489-3000
                                                Email:      msirota@coleschotz.com
                                                            wusatine@coleschotz.com
                                                            fyudkin@coleschotz.com
                                                            svanaalten@coleschotz.com

                                                PAUL, WEISS, RIFKIND, WHARTON &
                                                GARRISON LLP
                                                Andrew N. Rosenberg (admitted pro hac vice)
                                                Alice Belisle Eaton (admitted pro hac vice)
                                                Christopher Hopkins (admitted pro hac vice)
                                                Sean A. Mitchell (admitted pro hac vice)
                                                1285 Avenue of the Americas
                                                New York, New York 10019
                                                Telephone: (212) 373-3000
                                                Facsimile: (212) 757-3990
                                                Email:       arosenberg@paulweiss.com
                                                             aeaton@paulweiss.com
                                                             chopkins@paulweiss.com
                                                             smitchell@paulweiss.com


                                                Proposed Co-Counsel to the Debtors and
                                                Debtors in Possession




                                                   3
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                          Document    Page 75 of 107



                                   Exhibit A

                                Specified Leases




                                       4
Case 25-14861-MBK    Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                           Document    Page 76 of 107



                                    Schedule 2-A

                    Fee Owned Property Auction and Hearing Notice




                                         5
Case 25-14861-MBK             Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                              Desc Main
                                    Document    Page 77 of 107


                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11

 NEW RITE AID, LLC, et al.,                                    Case No. 25-14861 (MBK)

                                     Debtors.3                 (Jointly Administered)




              NOTICE OF BID DEADLINE, POTENTIAL AUCTION,
     AND POTENTIAL SALE HEARING FOR CERTAIN FEE OWNED PROPERTIES
         PLEASE TAKE NOTICE that on [●], 2025, the United States Bankruptcy Court for the
 District of New Jersey (the “Court”) entered the Final Order (I) Establishing Procedures for the
 Sale of Certain Leases and Fee Owned Properties, and (II) Granting Related Relief [Docket No.
 [●]] (the “Order”)4 in the chapter 11 cases of the above-captioned debtors and debtors in
 possession (collectively, the “Debtors”).

         PLEASE TAKE FURTHER NOTICE that the Debtors are soliciting offers for the sale,
 transfer, or other disposition of certain of the Debtors Fee Owned Properties attached hereto as
 Exhibit A (the “Specified Properties”) consistent with the Auction Procedures (the “Auction
 Procedures”) approved by the Court pursuant to the Order. All interested bidders should
 carefully read the Auction Procedures and Order. To the extent that there are any
 inconsistencies between this notice and the Auction Procedures or Order, the Auction Procedures
 or Order, as applicable, shall govern in all respects.

         PLEASE TAKE FURTHER NOTICE that the deadline by which the Debtors may, in
 the exercise of their reasonable business judgment, in consultation with the Consultation Parties,
 choose a stalking horse bidder in connection with the Specified Properties is [●], 2025 at 5:00
 p.m., prevailing Eastern Time.

        PLEASE TAKE FURTHER NOTICE that the deadline by which all Qualified Bids for
 the Specified Assets must be received pursuant to the Bidding Procedures is [●], 2025 at 5:00
 p.m., prevailing Eastern Time (the “Bid Deadline”).

          PLEASE TAKE FURTHER NOTICE that, if the Debtors receive qualified competing
 bids within the requirements specified by the Auction Procedures by the Bid Deadline, the Debtors
 will file a notice on the docket in these chapter 11 cases on or about [●], 2025 and conduct an
 Auction of certain of the Specified Properties on or about [●], 2025 at the offices of Paul, Weiss,

 3
      The last four digits of Debtor New Rite Aid, LLC’s tax identification number are 1843. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid2025.
      The location of Debtor New Rite Aid, LLC’s principal place of business and the Debtors’ service address in these
      chapter 11 cases is 200 Newberry Commons, Etters, Pennsylvania 17319.
 4
      Capitalized terms used but not defined in this notice have the meanings given to them in the Order.


                                                           6
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                 Desc Main
                                Document    Page 78 of 107



 Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, New York 1009, or
 by videoconference or such other form of remote communication established by the Debtors (or at
 any other location, or virtually, as the Debtors may hereafter designate on proper notice).

         PLEASE TAKE FURTHER NOTICE that, except as otherwise determined by the
 Debtors, in consultation with the Consultation Parties, only the Debtors, any Qualified Bidders,
 the Consultation Parties, the U.S. Trustee, counsel to any statutory committees appointed in these
 cases, and, in each case, the respective representatives and professionals of the foregoing parties,
 shall be entitled to attend the Auction, and only Qualified Bidders will be entitled to make Overbids
 at the Auction. All interested or potentially affected parties should carefully read the Auction
 Procedures and the Order.

        PLEASE TAKE FURTHER NOTICE that, in the event that the Debtors select
 Successful Bidder(s) pursuant to the Auction, the Debtors will file a notice identifying the
 Successful Bidder(s) on or about [●], 2025.

         PLEASE TAKE FURTHER NOTICE that any party that objects to the proposed
 Auction must file a written objection (each, an “Auction Objection”) with the Court and serve such
 Auction Objection so as to be actually received on or before [●], 2025 at 5:00 p.m., prevailing
 Eastern Time, by the following parties (a) proposed co-counsel to the Debtors, (b) counsel to the
 Stalking Horse Bidder, if any, (c) the Auction Notice Parties, (d) counsel to any official committee
 of unsecured creditors appointed in these chapter 11 cases, (e) the applicable Successful Bidder(s)
 and Back-Up Bidder(s), if known, and (g) any other party that has filed a notice of appearance in
 these chapter 11 cases (collectively, the “Objection Notice Parties”).

         PLEASE TAKE FURTHER NOTICE that the Debtors may seek approval of the sale of
 Specified Properties at a hearing scheduled to commence on or before [●], 2025 (the “Sale
 Hearing”), at a time to be determined by the Court, or as soon thereafter as the Debtors may be
 heard, before the Honorable Chief Judge Kaplan, at the United States Bankruptcy Court for the
 District of New Jersey, 402 East State Street, Courtroom 8, Trenton, New Jersey 08608 or by
 videoconference or such other form of remote communication established by the Court.

       PLEASE TAKE FURTHER NOTICE that any party that objects to the proposed sale of
 any Lease must file a written objection (each, a “Sale Objection”) with the Court and serve such
 Sale Objection so as to be actually received on or before [●], 2025 at 5:00 p.m., prevailing
 Eastern Time (the “Sale Objection Deadline”) by (a) the Objection Notice Parties.

          CONSEQUENCES OF FAILING TO TIMELY MAKE AN OBJECTION

      ANY PARTY OR ENTITY WHO FAILS TO TIMELY MAKE AN OBJECTION TO
 THE AUCTION OR SALE, AS APPLICABLE, ON OR BEFORE THE AUCTION
 OBJECTION DEADLINE AND THE SALE OBJECTION DEADLINE, RESPECTIVELY,
 SHALL BE FOREVER BARRED FROM ASSERTING ANY OBJECTION TO THE
 AUCTION OR SALE, AS APPLICABLE, INCLUDING WITH RESPECT TO THE
 TRANSFER OF THE APPLICABLE DEBTORS’ ASSETS FREE AND CLEAR OF ALL
 LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS, EXCEPT AS MAY BE



                                                  7
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                  Desc Main
                                Document    Page 79 of 107



 SET FORTH IN THE APPLICABLE ASSET PURCHASE AGREEMENT, AS
 APPLICABLE.

         PLEASE TAKE FURTHER NOTICE copies of the Auction Procedures, the Order, as
 well as all related exhibits, are available: (a) upon request to Kroll Restructuring Administration
 LLC (the claims, noticing, and solicitation agent retainer in these chapter 11 cases) by calling (888)
 575-9318 (toll free) or, for international callers, +1 (646) 930-4577; (b) by visiting the Debtors’
 restructuring website at https://restructuring.ra.kroll.com/RiteAid2025; or (c) for a fee via PACER
 by visiting http://www.njd.uscourts.gov.




                                                   8
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31            Desc Main
                          Document    Page 80 of 107




Dated: [●], 2025
                                    /s/ DRAFT
                                    COLE SCHOTZ P.C.
                                    Michael D. Sirota, Esq.
                                    Warren A. Usatine, Esq.
                                    Felice R. Yudkin, Esq.
                                    Seth Van Aalten, Esq. (admitted pro hac vice)
                                    Court Plaza North, 25 Main Street
                                    Hackensack, New Jersey 07601
                                    Telephone: (201) 489-3000
                                    Email:      msirota@coleschotz.com
                                                wusatine@coleschotz.com
                                                fyudkin@coleschotz.com
                                                svanaalten@coleschotz.com

                                    PAUL, WEISS, RIFKIND, WHARTON &
                                    GARRISON LLP
                                    Andrew N. Rosenberg (admitted pro hac vice)
                                    Alice Belisle Eaton (admitted pro hac vice)
                                    Christopher Hopkins (admitted pro hac vice)
                                    Sean A. Mitchell (admitted pro hac vice)
                                    1285 Avenue of the Americas
                                    New York, New York 10019
                                    Telephone: (212) 373-3000
                                    Facsimile: (212) 757-3990
                                    Email:       arosenberg@paulweiss.com
                                                 aeaton@paulweiss.com
                                                 chopkins@paulweiss.com
                                                 smitchell@paulweiss.com


                                    Proposed Co-Counsel to the Debtors and
                                    Debtors in Possession




                                      9
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                          Document    Page 81 of 107



                                   Exhibit A

                              Specified Properties
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31         Desc Main
                          Document    Page 82 of 107



                                    Schedule 3-A

           Notice of Successful and Backup Bidders for Certain Lease Sales
Case 25-14861-MBK             Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                              Desc Main
                                    Document    Page 83 of 107


                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11

 NEW RITE AID, LLC, et al.,                                    Case No. 25-14861 (MBK)

                                     Debtors.1                 (Jointly Administered)


              NOTICE OF SUCCESSFUL [AND BACKUP] BIDDER[S] WITH
          RESPECT TO THE AUCTION OF CERTAIN OF THE DEBTORS’ LEASES
         PLEASE TAKE NOTICE that on [●], 2025, the United States Bankruptcy Court for the
 District of New Jersey (the “Court”) entered the Final Order (I) Establishing Procedures for the
 Sale of Certain Leases and Fee Owned Properties, and (II) Granting Related Relief, [Docket No.
 [●]] (the “Order”)2 by which the Court approved procedures setting forth the process by which the
 Debtors are authorized to conduct an auction (the “Auction”) for the sale of certain unexpired
 leases of nonresidential real property (each, a “Lease”), in the chapter 11 cases of the above-
 captioned debtors and debtors in possession (collectively, the “Debtors”).

        PLEASE TAKE FURTHER NOTICE that, on [●], 2025 pursuant to the Order, the
 Debtors conducted the Auction with respect to certain of the Leases.

         PLEASE TAKE FURTHER NOTICE that, at the conclusion of the Auction, the Debtors,
 in consultation with their professionals, selected the following Successful Bidder and Backup
 Bidder with respect to each of the Leases listed on Exhibit A attached hereto. The Debtors hereby
 notify you that they have determined, in the exercise of their business judgment, that each
 unexpired lease set forth on Exhibit A is hereby assumed and assigned effective as of the date
 (the “Assumption Date”) set forth in Exhibit A or such other date as the Debtors, any counterparty
 to such Leases, and the proposed assignee agree.

          PLEASE TAKE FURTHER NOTICE that the Sale Hearing to consider approval of the
 sale, transfer, or other disposition of the Leases to the Successful Bidders at the Auction, free and
 clear of all liens, claims, interests, and encumbrances in accordance with Bankruptcy Code section
 363(f), will be held on [●], 2025, before Honorable Chief Judge Kaplan, at the United States
 Bankruptcy Court for the District of New Jersey, 402 East State Street, Courtroom 8, Trenton,
 New Jersey 08608 or by videoconference or such other form of remote communication established
 by the Court.



 1
      The last four digits of Debtor New Rite Aid, LLC’s tax identification number are 1843. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid2025.
      The location of Debtor New Rite Aid, LLC’s principal place of business and the Debtors’ service address in these
      chapter 11 cases is 200 Newberry Commons, Etters, Pennsylvania 17319.
 2
      Capitalized terms used but not defined in this notice have the meanings given to them in the Order.
Case 25-14861-MBK            Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                            Desc Main
                                   Document    Page 84 of 107



         PLEASE TAKE FURTHER NOTICE that any party that objects to the proposed sale of
 any Lease must file a written objection (each, a “Sale Objection”) with the Court and serve such
 Sale Objection so as to be actually received on or before [●], 2025 at 5:00 p.m., prevailing
 Eastern Time (the “Sale Objection Deadline”) by (a) the Debtors’ proposed co-counsel, (i) Paul,
 Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, New York
 10019 (Attn:         Alice Belisle Eaton (aeaton@paulweiss.com), Christopher Hopkins
 (chopkins@paulweiss.com), and Nick Krislov (nkrislov@paulweiss.com)) and (ii) Cole Schotz
 P.C., Court Plaza North, 25 Main Street, Hackensack, New Jersey 07601 (Attn: Michael D. Sirota
 (msirota@coleschotz.com), Warren A. Usatine (wusatine@coleschotz.com), Felice R. Yudkin
 (FYudkin@coleschotz.com), and Seth Van Aalten (svanaalten@coleschotz.com)); (b) the United
 States Trustee for the District of New Jersey, One Newark Center, Suite 2100, Newark, NJ 07102,
 Attn: Jeffrey M. Sponder and Lauren Bielskie (the “U.S. Trustee”); (c) counsel to the Prepetition
 ABL Agent and the DIP Agent, (i) Choate, Hall & Stewart LLP, Two International Place, Boston,
 MA 02110 (Attn: John F. Ventola (jventola@choate.com), Jonathan D. Marshall
 (jmarshall@choate.com) and Mark D. Silva (msilva@choate.com)) and (ii) Greenberg Traurig,
 LLP, 500 Campus Drive, Suite 400, Florham Park, NJ 07932 (Attn: Alan J. Brody
 (brodya@gtlaw.com) and Julia Frost-Davies (julia.frostdavies@gtlaw.com)); (d) counsel to any
 statutory committees appointed in these chapter 11 cases; (e) any affected Lease Counterparty or
 their known counsel; and (f) the applicable Successful Bidder(s) and Backup Bidder(s), if known.

                 PLEASE TAKE FURTHER NOTICE that, if no Sale Objection is timely filed,
 the Debtors may seek to have the Court enter, under a certificate of no objection, an order,
 substantially in the form Attached hereto as Exhibit B (the “Assumption Order”), approving the
 assumption and assignment of each Lease set forth in Exhibit A, in each case, effective on the
 Assumption Date set forth therein or such other date as the Debtors, any counterparty to such
                                         3
 Lease, and the proposed assignee agree.

                PLEASE TAKE FURTHER NOTICE that, if a Sale Objection is timely filed and
 not withdrawn or resolved, such Sale Objection will be heard at the Sale Hearing or such other
 date and time as determined by the Debtors or ordered by the Court. If such Sale Objection is
 overruled or withdrawn, such Lease shall be assumed, pursuant to an Assumption Order, as of the
 Assumption Date set forth in Exhibit A or such other date as the Debtors, any counterparty to such
 Lease, and the proposed assignee agree.

                 PLEASE TAKE FURTHER NOTICE that, at the Sale Hearing, the Debtors will
 seek the Court’s approval of the Successful Bid. Unless the Court orders otherwise or as agreed
 to by the applicable parties, the Sale Hearing shall be an evidentiary hearing on matters relating to
 the sale and there will be no further bidding at the Sale Hearing. In the event that the Successful
 Bidder cannot or refuses to consummate the sale following entry of an Assumption Order because

 3
     An objection to the assumption and assignment of any particular Lease listed in this Notice of Successful and
     Backup Bidders shall not constitute an objection to the assumption and assignment of any other Lease listed in
     this Notice of Successful and Backup Bidders. Any objection to the assumption and assignment of any particular
     Lease listed in this Notice of Successful and Backup Bidders must state with specificity the Lease(s) to which it
     is directed. For each particular unexpired lease whose assumption and assignment is not timely or properly
     objected to, such assumption and assignment will be effective in accordance with this Notice of Successful and
     Backup Bidders and the Order.


                                                          2
Case 25-14861-MBK        Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                 Desc Main
                               Document    Page 85 of 107



 of the breach or failure on the part of the Successful Bidder, within three (3) calendar days
 thereafter, the Debtors shall file a supplemental notice, seeking to approve the sale to the Backup
 Bidder, if applicable, on expedited notice and a hearing.

                PLEASE TAKE FURTHER NOTICE that the Debtors believe that the party to
 which each Lease, as applicable, will be assigned has the financial wherewithal to meet all future
 obligations under such unexpired lease and the Debtors will, within twenty-four (24) hours of the
 Auction, provide evidence thereof to such applicable Lease Counterparty (and their counsel, if
 known) thereby demonstrating that the proposed assignee of the Lease has the ability to comply
 with the requirements of adequate assurance of future performance.

                  PLEASE TAKE FURTHER NOTICE that copies of the Auction Procedures and
 the Order, as well as all related exhibits, including the form Assumption and Assignment
 Agreement, are available: (a) upon request to Kroll Restructuring Administration LLC (the claims,
 noticing, and solicitation agent retained in these chapter 11 cases) by calling (888) 575-9318 (toll
 free) or +1 (646) 930-4577 (international); (b) by visiting the website maintained in these chapter
 11 cases at https://restructuring.ra.kroll.com/RiteAid2025; or (c) for a fee via PACER by
 visiting http:// www.njd.uscourts.gov.




                                                  3
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31            Desc Main
                          Document    Page 86 of 107



Dated: [●], 2025
                                    /s/ DRAFT
                                    COLE SCHOTZ P.C.
                                    Michael D. Sirota, Esq.
                                    Warren A. Usatine, Esq.
                                    Felice R. Yudkin, Esq.
                                    Seth Van Aalten, Esq. (admitted pro hac vice)
                                    Court Plaza North, 25 Main Street
                                    Hackensack, New Jersey 07601
                                    Telephone: (201) 489-3000
                                    Email:      msirota@coleschotz.com
                                                wusatine@coleschotz.com
                                                fyudkin@coleschotz.com
                                                svanaalten@coleschotz.com

                                    PAUL, WEISS, RIFKIND, WHARTON &
                                    GARRISON LLP
                                    Andrew N. Rosenberg (admitted pro hac vice)
                                    Alice Belisle Eaton (admitted pro hac vice)
                                    Christopher Hopkins (admitted pro hac vice)
                                    Sean A. Mitchell (admitted pro hac vice)
                                    1285 Avenue of the Americas
                                    New York, New York 10019
                                    Telephone: (212) 373-3000
                                    Facsimile: (212) 757-3990
                                    Email:       arosenberg@paulweiss.com
                                                 aeaton@paulweiss.com
                                                 chopkins@paulweiss.com
                                                 smitchell@paulweiss.com

                                    Proposed Co-Counsel to the Debtors and
                                    Debtors in Possession




                                      4
                                                     Exhibit A

                                       Successful and Backup Bidder List


              Lease
                                                                                                                                           Case 25-14861-MBK




                          Successful      [Backup        [Proposed                 Cure    Assignment
Lease(s)   Counterparty                                                    Price                        Assignee
                           Bidder          Bidder]      Breakup Fee]               Costs      Date
            & Address
                                                                                                                         Document    Page 87 of 107
                                                                                                                   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31
                                                                                                                                           Desc Main
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                          Document    Page 88 of 107



                                   Exhibit B

                          Proposed Assumption Order




                                      3
Case 25-14861-MBK               Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                           Desc Main
                                      Document    Page 89 of 107


     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     In re:                                                             Chapter 11

     NEW RITE AID, LLC, et al.,                                         Case No. 25-14861 (MBK)

                                        Debtors. 1                      (Jointly Administered)



                          [NUMBER] ORDER APPROVING THE
              ASSUMPTION AND ASSIGNMENT OF CERTAIN UNEXPIRED LEASES
              The relief set forth on the following pages, numbered three (3) through five (5), is

 ORDERED.




 1
        The last four digits of Debtor New Rite Aid, LLC’s tax identification number are 1843. A complete list of the
        Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid2025.
        The location of Debtor New Rite Aid, LLC’s principal place of business and the Debtors’ service address in these
        chapter 11 cases is 200 Newberry Commons, Etters, Pennsylvania 17319.
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                                Document    Page 90 of 107


 Caption in Compliance with D.N.J. LBR 9004-1(b)
 PAUL, WEISS, RIFKIND, WHARTON
 & GARRISON LLP
 Andrew N. Rosenberg (admitted pro hac vice)
 Alice Belisle Eaton (admitted pro hac vice)
 Christopher Hopkins (admitted pro hac vice)
 Sean A. Mitchell (admitted pro hac vice)
 1285 Avenue of the Americas
 New York, New York 10019
 Telephone: (212) 373-3000
 Facsimile: (212) 757-3990
 arosenberg@paulweiss.com
 aeaton@paulweiss.com
 chopkins@paulweiss.com
 smitchell@paulweiss.com

 -and-

 COLE SCHOTZ P.C.
 Michael D. Sirota, Esq.
 Warren A. Usatine, Esq.
 Felice R. Yudkin, Esq.
 Seth Van Aalten, Esq. (admitted pro hac vice)
 Court Plaza North, 25 Main Street
 Hackensack, New Jersey 07601
 Telephone: (201) 489-3000
 msirota@coleschotz.com
 wusatine@coleschotz.com
 fyudkin@coleschotz.com
 svanaalten@coleschotz.com

 Proposed Co-Counsel to the Debtors and
 Debtors in Possession
Case 25-14861-MBK            Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                           Desc Main
                                   Document    Page 91 of 107
 (Page | 3)
 Debtors:                  NEW RITE AID, LLC, et al.
 Case No.                  25-14861 (MBK)
 Caption of Order:         [Number] Order Approving the Assumption and Assignment of Certain
                           Unexpired Leases



         Upon the Final Order (I) Establishing Procedures for the Sale of Certain Leases and Fee

 Owned Properties, and (II) Granting Related Relief [Docket No.___] (the “Final Order”)1 of the

 above-captioned debtors and debtors in possession (collectively, the “Debtors”); and the Court

 having jurisdiction over this matter and the relief requested therein pursuant to 28 U.S.C. §§ 157

 and 1334 and the Standing Order of Reference to the Bankruptcy Court Under Title 11 of the

 United States District Court for the District of New Jersey, entered July 23, 1984, and amended on

 September 18, 2012 (Simandle, C.J.); and this Court having found that venue of this proceeding

 and the matter in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Debtors

 having properly filed and served a Notice of Successful and Backup Bidders on the Objection

 Notice Parties, the Successful Bidder(s), the Backup Bidder(s), and the applicable Lease

 Counterparties, in accordance with the terms of the Final Order; and no timely objections having

 been filed to the assumption or assumption and assignment of such Leases; and due and proper

 notice of the Final Order and the Notice of Successful and Backup Bidders having been provided

 to each applicable Lease Counterparty as set forth in the assumption schedule

 (the “Assumption Schedule”), attached hereto as Exhibit 1, and it appearing that no other notice

 need be provided; and after due deliberation and sufficient cause appearing therefor, IT IS

 HEREBY ORDERED THAT:

         1.       The Debtors are authorized to assume or assume and assign the Leases listed on



 1
     Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Final Order or the
     Debtors’ Motion for Entry of Interim and Final Orders (I) Establishing Procedures for the Sale of Certain Leases
     and Fee Owned Properties, and (II) Granting Related Relief [Docket No. 22].
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                   Desc Main
                                Document    Page 92 of 107
 (Page | 4)
 Debtors:               NEW RITE AID, LLC, et al.
 Case No.               25-14861 (MBK)
 Caption of Order:      [Number] Order Approving the Assumption and Assignment of Certain
                        Unexpired Leases



 Exhibit 1. The Lease, as amended with the prior consent and written agreement of the applicable

 Lease Counterparty if applicable, are hereby deemed to be assumed or assumed and assigned by

 the Debtors pursuant to section 365(a) of the Bankruptcy Code.

        2.      Pursuant to sections 105(a) and 363(f) of the Bankruptcy Code, the assignment of

 the Contracts listed on Exhibit 1 shall: (a) be free and clear of (i) all interests including, but not

 limited to, any liens, claims, rights, interests, charges, or encumbrances, except with respect to any

 interests related to reciprocal easement agreements or that may be assumed liabilities under the

 applicable Assumption and Assignment Agreement (collectively, the “Interests”) and any Interests

 shall attach to the proceeds in the same order and priority, as applicable, and subject to all existing

 defenses, claims, setoffs, and rights and (ii) any and all claims (as that term is defined in

 section 101(5) of the Bankruptcy Code), obligations, demands, guarantees of or by the Debtors,

 debts, rights, contractual commitments, restrictions, interests, and matters of any kind and nature,

 whether arising prior to or subsequent to the commencement of these chapter 11 cases, and whether

 imposed by agreement, understanding, law, equity, or otherwise (including, without limitation,

 claims and encumbrances (A) that purport to give to any party a right or option to effect any

 forfeiture, modification, or termination of the interest of any Debtor or Assignee, as the case may

 be, in the Lease(s) (but only in connection with the assignment by the Debtor to the Assignee),

 provided that any such assignment shall not be free and clear of any accrued but unbilled or not

 due rent and charges under a lease of non-residential real property, including adjustments,

 reconciliations, and indemnity obligations, liability for which shall be assumed or assumed and

 assigned by the Debtors or the applicable Assignee, as agreed by and among the Debtors and the
Case 25-14861-MBK          Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                    Desc Main
                                 Document    Page 93 of 107
 (Page | 5)
 Debtors:                NEW RITE AID, LLC, et al.
 Case No.                25-14861 (MBK)
 Caption of Order:       [Number] Order Approving the Assumption and Assignment of Certain
                         Unexpired Leases



 applicable Assignee or (B) in respect of any taxes), and (b) constitute a legal, valid, and effective

 transfer of such Lease(s) and vest the applicable Assignee or purchase with all rights, titles, and

 interests to the applicable Lease(s). For the avoidance of doubt, all provisions of the applicable

 assigned Contract, including any provision limiting assignment, shall be binding on the applicable

 Assignee.

         3.      Subject to the other provisions of this Order, the Debtors are hereby authorized in

 accordance with sections 365(b) and (f) of the Bankruptcy Code to (a) assume and assign to any

 Assignee the applicable Lease with any applicable Assignee being responsible only for the post-

 assignment liabilities or defaults under the applicable Lease except as otherwise provided for in this

 Order and (b) execute and deliver to any applicable Assignee such assignment documents as may be

 reasonably necessary to sell, assign, and transfer any such Lease.

         4.      The Assignee shall have no liability or obligation with respect to defaults relating

 to the assigned Contracts arising, accruing, or relating to a period prior to the applicable

 Assumption Date except as otherwise agreed to between the Assignee and the Debtors.

         5.      The Debtors are hereby authorized, pursuant to section 363(b) of the Bankruptcy

 Code, to enter into the consensual amendments as set forth in the Assumption Notice.

         6.      The Debtors are authorized to execute and deliver all instruments and documents

 and take all additional actions necessary to effectuate the relief granted in this Order and the

 assumption without further order from this Court.

         7.      For the avoidance of doubt, the assumption or assumption and assignment of the

 Lease(s) shall not be free and clear of, and instead shall be subject to: (a) amounts that are unbilled or
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                 Desc Main
                                Document    Page 94 of 107
 (Page | 6)
 Debtors:               NEW RITE AID, LLC, et al.
 Case No.               25-14861 (MBK)
 Caption of Order:      [Number] Order Approving the Assumption and Assignment of Certain
                        Unexpired Leases



 not yet due as of the Assumption Date, regardless of when such amounts accrued, such as common

 area maintenance, insurance, taxes, and similar charges; (b) any regular or periodic adjustment or

 reconciliation of charges that are not due or have not been determined as of the Assumption Date; (c)

 any percentage rent that may come due; (d) indemnification obligations; (e) any unpaid cure amount,

 calculated in accordance with the terms of any applicable amendment or other agreement of the

 Parties; and (f) agreements that run with the land such as REAs and COREAs.

        8.      The 14-day stay required of any assignment of any Contract pursuant to Bankruptcy

 Rule 6006(d) is hereby waived.

        9.      This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                          Document    Page 95 of 107



                                    Exhibit 1

                               Assumption Schedule
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                          Document    Page 96 of 107
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                          Document    Page 97 of 107



                                   Exhibit B
Case 25-14861-MBK    Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31        Desc Main
                           Document    Page 98 of 107




                                    Schedule 3-B

     Notice of Successful and Backup Bidders for Certain Fee Owned Property Sales
Case 25-14861-MBK             Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                              Desc Main
                                    Document    Page 99 of 107


                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11

 NEW RITE AID, LLC, et al.,                                    Case No. 25-14861 (MBK)

                                     Debtors.1                 (Jointly Administered)


     NOTICE OF SUCCESSFUL [AND BACKUP] BIDDER[S] WITH RESPECT TO THE
        AUCTION OF CERTAIN OF THE DEBTORS’ FEE OWNED PROPERTY
         PLEASE TAKE NOTICE that on May 5, 2025, the United States Bankruptcy Court for
 the District of New Jersey (the “Court”) entered the Final Order (I) Establishing Procedures for
 the Sale of Certain Leases and Fee Owned Properties, and (II) Granting Related Relief, [Docket
 No. [●]] (the “Order”)2 by which the Court approved procedures setting forth the process by which
 the Debtors are authorized to conduct an auction (the “Auction”) for the sale of certain fee owned
 property (each, a “Fee Owned Property”), in the chapter 11 cases of the above-captioned debtors
 and debtors in possession (collectively, the “Debtors”).

        PLEASE TAKE FURTHER NOTICE that, on [●], 2025 pursuant to the Order, the
 Debtors conducted the Auction with respect to certain of the Fee Owned Property.

        PLEASE TAKE FURTHER NOTICE that, at the conclusion of the Auction, the Debtors,
 in consultation with their professionals, selected the following Successful Bidder and Backup
 Bidder with respect to each of the Fee Owned Properties listed on Exhibit A attached hereto. The
 Debtors hereby notify you that they have determined, in the exercise of their business judgment,
 that each Fee Owned Property set forth on Exhibit A is hereby sold effective as of the date
 (the “Closing Date”) set forth in Exhibit A or such other date as the Debtors and the proposed
 purchaser agree.

          PLEASE TAKE FURTHER NOTICE that the Sale Hearing to consider approval of the
 sale, transfer, or other disposition of the Fee Owned Property to the Successful Bidders at the
 Auction, free and clear of all liens, claims, interests, and encumbrances in accordance with
 Bankruptcy Code section 363(f), will be held on [●], 2025, before Honorable Chief Judge Kaplan,
 at the United States Bankruptcy Court for the District of New Jersey, 402 East State Street,
 Courtroom 8, Trenton, New Jersey 08608 or by videoconference or such other form of remote
 communication established by the Court.



 1
      The last four digits of Debtor New Rite Aid, LLC’s tax identification number are 1843. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid2025.
      The location of Debtor New Rite Aid, LLC’s principal place of business and the Debtors’ service address in these
      chapter 11 cases is 200 Newberry Commons, Etters, Pennsylvania 17319.
 2
      Capitalized terms used but not defined in this notice have the meanings given to them in the Order.
Case 25-14861-MBK         Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                  Desc Main
                                Document    Page 100 of 107



         PLEASE TAKE FURTHER NOTICE that any party that objects to the proposed sale of
 any Fee Owned Property must file a written objection (each, a “Sale Objection”) with the Court
 and serve such Sale Objection so as to be actually received on or before [●], 2025 at 5:00 p.m.,
 prevailing Eastern Time (the “Sale Objection Deadline”) by (a) the Debtors’ proposed co-
 counsel, (i) Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New
 York, New York 10019 (Attn: Alice Belisle Eaton (aeaton@paulweiss.com), Christopher Hopkins
 (chopkins@paulweiss.com), and Nick Krislov (nkrislov@paulweiss.com)) and (ii) Cole Schotz
 P.C., Court Plaza North, 25 Main Street, Hackensack, New Jersey 07601 (Attn: Michael D. Sirota
 (msirota@coleschotz.com), Warren A. Usatine (wusatine@coleschotz.com), Felice R. Yudkin
 (FYudkin@coleschotz.com), and Seth Van Aalten (svanaalten@coleschotz.com)); (b) the United
 States Trustee for the District of New Jersey, One Newark Center, Suite 2100, Newark, NJ 07102,
 Attn: Jeffrey M. Sponder and Lauren Bielskie (the “U.S. Trustee”); (c) counsel to the Prepetition
 ABL Agent and the DIP Agent, (i) Choate, Hall & Stewart LLP, Two International Place, Boston,
 MA 02110 (Attn: John F. Ventola (jventola@choate.com), Jonathan D. Marshall
 (jmarshall@choate.com) and Mark D. Silva (msilva@choate.com)) and (ii) Greenberg Traurig,
 LLP, 500 Campus Drive, Suite 400, Florham Park, NJ 07932 (Attn: Alan J. Brody
 (brodya@gtlaw.com) and Julia Frost-Davies (julia.frostdavies@gtlaw.com)); (d) counsel to any
 statutory committees appointed in these chapter 11 cases; and (e) the applicable Successful
 Bidder(s) and Backup Bidder(s), if known.

                  PLEASE TAKE FURTHER NOTICE that, absent a Sale Objection being timely
 filed, the sale of each Fee Owned Property shall become effective on the Closing Date set forth in
 Exhibit A, or such other date as the Debtors and the proposed purchaser agree.

        PLEASE TAKE FURTHER NOTICE that, if a Sale Objection is timely filed and not
 withdrawn or resolved, such Sale Objection will be heard at the Sale Hearing or such other date
 and time as agreed to by the Debtors and the objecting party or ordered by the Court. If such Sale
 Objection is overruled or withdrawn, such Fee Owned Property shall be sold as of the Closing
 Date set forth in Exhibit A or such other date as the Debtors and the proposed purchaser agree.

          PLEASE TAKE FURTHER NOTICE that, at the Sale Hearing, the Debtors will seek
 the Court’s approval of the Successful Bid. Unless the Court orders otherwise or as agreed to by
 the applicable parties, the Sale Hearing shall be an evidentiary hearing on matters relating to the
 sale and there will be no further bidding at the Sale Hearing. In the event that the Successful
 Bidder cannot or refuses to consummate the sale following entry of a sale order because of the
 breach or failure on the part of the Successful Bidder, within three (3) calendar days thereafter, the
 Debtors shall file a supplemental notice on or before the Closing Deadline, seeking to approve the
 sale to the Backup Bidder, if applicable, on expedited notice and a hearing.

         PLEASE TAKE FURTHER NOTICE that copies of the Auction Procedures and the
 Order, as well as all related exhibits, including the form Assumption and Assignment Agreement,
 are available: (a) upon request to Kroll Restructuring Administration LLC (the claims, noticing,
 and solicitation agent retained in these chapter 11 cases) by calling (888) 575-9318 (toll free) or
 +1 (646) 930-4577 (international); (b) by visiting the website maintained in these chapter 11 cases
 at https://restructuring.ra.kroll.com/RiteAid2025; or (c) for a fee via PACER by visiting http://
 www.njd.uscourts.gov.
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31            Desc Main
                          Document    Page 101 of 107



Dated: [●], 2025
                                    /s/ DRAFT
                                    COLE SCHOTZ P.C.
                                    Michael D. Sirota, Esq.
                                    Warren A. Usatine, Esq.
                                    Felice R. Yudkin, Esq.
                                    Seth Van Aalten, Esq. (admitted pro hac vice)
                                    Court Plaza North, 25 Main Street
                                    Hackensack, New Jersey 07601
                                    Telephone: (201) 489-3000
                                    Email:      msirota@coleschotz.com
                                                wusatine@coleschotz.com
                                                fyudkin@coleschotz.com
                                                svanaalten@coleschotz.com

                                    PAUL, WEISS, RIFKIND, WHARTON &
                                    GARRISON LLP
                                    Andrew N. Rosenberg (admitted pro hac vice)
                                    Alice Belisle Eaton (admitted pro hac vice)
                                    Christopher Hopkins (admitted pro hac vice)
                                    Sean A. Mitchell (admitted pro hac vice)
                                    1285 Avenue of the Americas
                                    New York, New York 10019
                                    Telephone: (212) 373-3000
                                    Facsimile: (212) 757-3990
                                    Email:       arosenberg@paulweiss.com
                                                 aeaton@paulweiss.com
                                                 chopkins@paulweiss.com
                                                 smitchell@paulweiss.com

                                    Proposed Co-Counsel to the Debtors and
                                    Debtors in Possession
                                Exhibit A

                     Successful and Backup Bidder List



Fee Owned   Successful    [Backup      [Proposed                 Closing
                                                         Price
                                                                                                   Case 25-14861-MBK




 Property    Bidder        Bidder]    Breakup Fee]                Date
                                                                                 Document    Page 102 of 107
                                                                           Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31
                                                                                                   Desc Main
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                          Document    Page 103 of 107




                                   Schedule 4

                        Assumption and Assignment Notice
Case 25-14861-MBK             Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                              Desc Main
                                    Document    Page 104 of 107


                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11

 NEW RITE AID, LLC, et al.,                                    Case No. 25-14861 (MBK)

                                     Debtors.1                 (Jointly Administered)


                           NOTICE OF ASSUMPTION AND ASSIGNMENT
                             OF CERTAIN OF THE DEBTORS’ LEASES
         PLEASE TAKE NOTICE that on [●], 2025, the United States Bankruptcy Court for the
 District of New Jersey (the “Court”) entered the Final Order (I) Establishing Procedures for the
 Sale of Certain Leases and Fee Owned Properties, and (II) Granting Related Relief, [Docket No.
 [●]] (the “Order”)2 by which the Court, among other things, approved expedited procedures for
 the assumption of unexpired leases and granted related relief in the chapter 11 cases of the above-
 captioned debtors and debtors in possession (collectively, the “Debtors”).

         PLEASE TAKE FURTHER NOTICE that, on [●], 2025 pursuant to the Order and this
 written notice (the “Assumption and Assignment Notice”), the Debtors hereby notify you that they
 have determined, in the exercise of their business judgment, that each Lease set forth on Exhibit
 A attached hereto is hereby assumed and assigned, including with respect to payment of any cure
 costs (the “Cure Costs”) in the amounts set forth on Exhibit A required to assume such Lease,
 effective as of the date (the “Assumption Date”) set forth in Exhibit A or such other date as the
 Debtors and the Lease Counterparties to such unexpired leases agree.

         PLEASE TAKE FURTHER NOTICE that the Debtors believe that the party to which
 each applicable Lease will be assigned has the financial wherewithal to meet all future obligations
 under such Lease and the Debtors will, at the request of the applicable Lease Counterparty use
 commercially reasonable efforts to provide evidence thereof to such applicable Lease Counterparty
 (and their counsel, if known), thereby demonstrating that the assignee of the unexpired lease has
 the ability to comply with the requirements of adequate assurance of future performance.

         PLEASE TAKE FURTHER NOTICE that objections to the proposed Cure Costs,
 assumption and assignment, and/or form of adequate assurance of future performance must file a
 written objection (each, an “Assumption Objection”) with the Court and serve such Sale Objection
 so as to be actually received on or before [●], 2025 at 5:00 p.m., prevailing Eastern Time
 (the “Assumption Objection Deadline”) by (a) the Debtors’ proposed co-counsel, (i) Paul, Weiss,
 Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, New York 10019

 1
      The last four digits of Debtor New Rite Aid, LLC’s tax identification number are 1843. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid2025.
      The location of Debtor New Rite Aid, LLC’s principal place of business and the Debtors’ service address in these
      chapter 11 cases is 200 Newberry Commons, Etters, Pennsylvania 17319.
 2
      Capitalized terms used but not defined in this notice have the meanings given to them in the Order.
Case 25-14861-MBK            Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31                            Desc Main
                                   Document    Page 105 of 107



 (Attn:        Alice     Belisle     Eaton    (aeaton@paulweiss.com),     Christopher     Hopkins
 (chopkins@paulweiss.com), and Nick Krislov (nkrislov@paulweiss.com)) and (ii) Cole Schotz
 P.C., Court Plaza North, 25 Main Street, Hackensack, New Jersey 07601 (Attn: Michael D. Sirota
 (msirota@coleschotz.com), Warren A. Usatine (wusatine@coleschotz.com), Felice R. Yudkin
 (FYudkin@coleschotz.com), and Seth Van Aalten (svanaalten@coleschotz.com)); (b) the United
 States Trustee for the District of New Jersey, One Newark Center, Suite 2100, Newark, NJ 07102,
 Attn: Jeffrey M. Sponder and Lauren Bielskie (the “U.S. Trustee”); (c) counsel to the Prepetition
 ABL Agent and the DIP Agent, (i) Choate, Hall & Stewart LLP, Two International Place, Boston,
 MA 02110 (Attn: John F. Ventola (jventola@choate.com), Jonathan D. Marshall
 (jmarshall@choate.com) and Mark D. Silva (msilva@choate.com)) and (ii) Greenberg Traurig,
 LLP, 500 Campus Drive, Suite 400, Florham Park, NJ 07932 (Attn: Alan J. Brody
 (brodya@gtlaw.com) and Julia Frost-Davies (julia.frostdavies@gtlaw.com)); (d) counsel to any
 statutory committees appointed in these chapter 11 cases; (e) any affected Lease Counterparty or
 their known counsel; and (f) the applicable Successful Bidder(s) and Backup Bidder(s), if known.

                PLEASE TAKE FURTHER NOTICE that, if an Assumption Objection is timely
 filed and not withdrawn or resolved, such Assumption Objection will be heard at the Sale Hearing
 or such other date and time as determined by the Debtors or ordered by the Court. If such Sale
 Objection is overruled or withdrawn, such Lease shall be assumed, pursuant to an Assumption
 Order, as of the Assumption Date set forth in Exhibit A or such other date as the Debtors, any
                                                              3
 counterparty to such Lease, and the proposed assignee agree.

         PLEASE TAKE FURTHER NOTICE that, if an Assumption Objection is timely filed
 and not withdrawn or resolved, such Assumption Objection will be heard at the Sale Hearing or
 such other date and time as agreed to by the Debtors and the objecting party or ordered by the
 Court. If such Assumption Objection is overruled or withdrawn, such Lease shall be assumed as
 of the Assumption Date set forth in Exhibit A or such other date as the Debtors, any counterparty
 to such Lease, and the proposed assignee agree.

         PLEASE TAKE FURTHER NOTICE that copies of the Auction Procedures and the
 Order, as well as all related exhibits, including the form Assumption and Assignment Agreement,
 are available: (a) upon request to Kroll Restructuring Administration LLC (the claims, noticing,
 and solicitation agent retained in these chapter 11 cases) by calling (888) 575-9318 (toll free) or
 +1 (646) 930-4577 (international); (b) by visiting the website maintained in these chapter 11 cases
 at https://restructuring.ra.kroll.com/RiteAid2025; or (c) for a fee via PACER by visiting http://
 www.njd.uscourts.gov.




 3
     An objection to the assumption and assignment of any particular Lease listed in this Notice of Successful and
     Backup Bidders shall not constitute an objection to the assumption and assignment of any other Lease listed in
     this Notice of Successful and Backup Bidders. Any objection to the assumption and assignment of any particular
     Lease listed in this Notice of Successful and Backup Bidders must state with specificity the Lease(s) to which it
     is directed. For each particular unexpired lease whose assumption and assignment is not timely or properly
     objected to, such assumption and assignment will be effective in accordance with this Notice of Successful and
     Backup Bidders and the Order.
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31            Desc Main
                          Document    Page 106 of 107



Dated: [●], 2025
                                    /s/ DRAFT
                                    COLE SCHOTZ P.C.
                                    Michael D. Sirota, Esq.
                                    Warren A. Usatine, Esq.
                                    Felice R. Yudkin, Esq.
                                    Seth Van Aalten, Esq. (admitted pro hac vice)
                                    Court Plaza North, 25 Main Street
                                    Hackensack, New Jersey 07601
                                    Telephone: (201) 489-3000
                                    Email:      msirota@coleschotz.com
                                                wusatine@coleschotz.com
                                                fyudkin@coleschotz.com
                                                svanaalten@coleschotz.com

                                    PAUL, WEISS, RIFKIND, WHARTON &
                                    GARRISON LLP
                                    Andrew N. Rosenberg (admitted pro hac vice)
                                    Alice Belisle Eaton (admitted pro hac vice)
                                    Christopher Hopkins (admitted pro hac vice)
                                    Sean A. Mitchell (admitted pro hac vice)
                                    1285 Avenue of the Americas
                                    New York, New York 10019
                                    Telephone: (212) 373-3000
                                    Facsimile: (212) 757-3990
                                    Email:       arosenberg@paulweiss.com
                                                 aeaton@paulweiss.com
                                                 chopkins@paulweiss.com
                                                 smitchell@paulweiss.com


                                    Proposed Co-Counsel to the Debtors and
                                    Debtors in Possession
Case 25-14861-MBK   Doc 804 Filed 06/11/25 Entered 06/11/25 14:22:31   Desc Main
                          Document    Page 107 of 107



                                   Exhibit A

                              Assumption Schedule
